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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


       MICHAEL SIZEMORE, et al., on behalf of
       themselves and all others similarly situated,             CASE NO. 1:23-cv-21261

                        Plaintiffs,
                                                                 FIRST AMENDED CLASS
       v.                                                        ACTION COMPLAINT

       CHANGPENG ZHAO, BINANCE                                   JURY TRIAL DEMANDED
       HOLDINGS LIMITED, BAM TRADING
       SERVICES INC., BAM MANAGEMENT
       US HOLDINGS INC., BINANCE
       HOLDINGS (IE) LIMITED, BINANCE
       (SERVICES) HOLDINGS LIMITED,
       PAXOS TRUST COMPANY, LLC, JIMMY
       BUTLER, AND BEN ARMSTRONG,

                        Defendants.
                                                        /

            Plaintiffs file this Complaint on behalf of themselves, and all other similarly situated

   consumers who purchased unregistered securities offered or sold by Binance, 1 against Defendants,

   including many of the related Binance entities that helped run the world’s largest cryptocurrency

   exchange and/or issued unregistered securities, the founder of the Binance enterprise, and

   “Influencers” who promoted, assisted in, and/or actively participated in the offer and sale of

   unregistered securities in coordination with Binance.

                                           INTRODUCTION

            1.     Binance Holdings Limited d/b/a Binance.com (“Binance.com”) directly oversees the

   world’s largest centralized, web-based crypto-products platform, offering its customers in the United


   1
    Binance is not a single corporate entity, but rather an opaque web of corporate entities, all of which
   are ultimately controlled by Defendant Changpeng Zhao. Accordingly, the term “Binance” as used
   herein refers to the entire corporate enterprise, including Binance Holdings Limited d/b/a
   Binance.com, Binance Holdings (IE) Limited, Binance (Services) Holdings Limited, BAM
   Management U.S. Holdings, Inc., and BAM Trading Services Inc. d/b/a Binance.US.
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   States the ability to buy, loan, and trade digital assets, including cryptocurrency and tokens, such as

   their own native token, “BNB” and their own stablecoin pegged to the U.S. Dollar, “BUSD.” 2

             2.     In simplified terms, the value of the BNB token is based on the total number of

   existing BNB coins and the profits of the Binance exchange, all of which depend “upon the actions

   of others.” The BNB token, therefore, is a “security” under the Howey test. In fact, unlike other crypto

   tokens which are traded on an open market, the number of existing BNB coins all depends upon the

   “burn rate” of the token, which is established by Binance’s Founder and Binance.com’s Chief

   Executive Officer, Defendant Changpeng Zhao (“Zhao”). This is, accordingly, a classic example of a

   centralized exchange that is promoting the sale of an unregistered security. As explained herein, for

   similar reasons, tokens including BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO,

   AXS, and COTI, as well as Binance programs like the “BNB Vault,” “Simple Earn,” and certain

   staking programs are also unregistered securities that Binance offered through one or both of the

   Binance platforms.

             3.     Binance has enormous reach that has enabled it to sell these unregistered securities in

   massive volumes, both through its exchanges and separately through listing on other centralized

   exchanges such as Crypto.com. According to the platform’s website, Binance.com had a yearly trading

   volume of $9.58 trillion in 2021 and facilitated 300 billion spot transactions in 2022. Binance.com

   allows users to trade more than 350 cryptocurrencies and has 120 million registered users. Much of

   its trading volume and profit arises specifically from its extensive solicitation within the United States,

   earning at least $11.6 billion in revenue from U.S. customers between 2018 and 2021. Binance’s U.S.

   website describes BNB as having “its own living, breathing ecosystem” and states that Binance’s

   “vision is that one day everyone will own BNB[.]” Binance.com holds itself out as the world’s “largest




   2
       According to Binance, “BNB” stands for “Build and Build” and was formerly called “Binance Coin.”

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   crypto exchange by trade volume” and is reported to have amassed over half the global market share

   for digital asset exchange activity as of the end of 2022.

              4.   Binance’s reach—and its unlawful conduct—extends directly to Florida, the location

   of its domestic headquarters. In late 2020, Binance’s U.S. affiliate, Binance.US, decided to take Florida

   off its cryptocurrency trading “no-fly list” and opened its Binance.US platform for business here in

   the Sunshine State. The expansion into America’s third-most populous state followed the

   procurement of a Floridian money transmitter license under the name “BAM TRADING SERVICES

   INC.”

              5.   Binance.US’s former U.S. Chief, Catherine Coley, who grew up in Orlando, said that

   the two-year Florida license granted Binance access to what is now its second-largest potential market:

   12 million eligible traders. “We’re well aware that not every single person above the age of 18 is going

   to download Binance.US tomorrow, but it is a huge population that is ripe for understanding how

   digital assets work,” she said.

              6.   In addition to Binance’s own unlawful activity, during the class period, Binance

   partnered with promoters (including Defendants Armstrong and Butler) to publicly promote Binance

   and solicit new customers, including through traditional advertisements on television and social media.

   These partnerships put promoters from across the globe in the position to receive kickbacks and

   commissions based on their promotion and sale of unregistered securities to investors. Binance hosts

   an annual ceremony honoring the “Best Influencers” from each area across the Globe.

              7.   With the rise to prominence of the internet and social media, a new multi-billion-dollar

   cottage industry of “influencers” has been created. Influencers played a major role in Binance’s rise

   by hyping these unregistered securities in exchange for multimillion-dollar payouts.

              8.   Indeed, according to a recent investigative analysis by Shawn Tully, reporting for

   Fortune:


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                   The bigger plan is the one officially tagged the Affiliate Program, which enlists
                   prominent names in social media. Binance’s website provides a list of who’s eligible.
                   It includes influencers with over 5,000 followers; financial and opinion leaders with
                   communities of 500-plus members on groups such as Facebook, Reddit, or QQ;
                   analyst-gurus getting over 5,000 daily visits; and crypto funds. The hosts pocket 41%
                   kickbacks on recruits’ spot trades if they start with fewer than 500 referrals; at over
                   500, their take hits a stunning 50%. Binance provides strong incentives for those hosts
                   to keep building their clubs. To keep the 41% kickbacks, an inviter must attract at least
                   10 new customers every 90 days that together generate at least the equivalent of 50
                   Bitcoin, or around $1 million, in new trades. 3

           9.      These promoters—including Defendants Armstrong and Butler—thus engaged in the

   mass solicitation of investments in unregistered securities on behalf of Binance. These are exactly the

   types of solicitations that courts repeatedly have found to be actionable under the analogous Section

   12 of the 1933 Act. Wildes v. BitConnect Int’l PLC, 25 F.4th 1341 (11th Cir. 2022), cert. denied sub nom.

   Arcaro v. Parks, 214 L. Ed. 2d 235 (2022); Pino v. Cardone Capital, LLC, 55 F.4th 1253 (9th Cir. 2022).

           10.     As the events of 2022 demonstrated, the illicit activities of Binance and its promoters

   were, unfortunately, commonplace in the cryptocurrency exchange market. Indeed, undersigned

   counsel has already brought the first class action in the country against cryptocurrency platform

   Voyager Digital and affiliated promoters, alleging, in part, that they sold unregistered securities in the

   form of crypto tokens and interest-bearing cryptocurrency accounts. Voyager subsequently declared

   bankruptcy and the litigation is currently proceeding in this District against the various aiders and

   abettors who promoted the unregistered Voyager products.

           11.     Voyager was supposed to be rescued in bankruptcy by their competitor, FTX, which

   entered into an asset purchase agreement with Voyager in the Voyager bankruptcy proceedings. But

   that potential transaction fell through when FTX itself subsequently declared bankruptcy, after a bank




   3
        See Fortune, https://fortune.com/2023/03/28/binance-cftc-lawsuit-bnb-coin-social-media-
   influencers/?utm_source=Iterable&utm_medium=email&utm_campaign=campaign_2886032&tpcc
   =dailydigest (accessed June 27, 2023).

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   run on the FTX platform that resulted from Zhao publicly disclosing that FTX was in dire financial

   straits.

              12.   Undersigned counsel then brought a class action against certain FTX insiders and

   affiliated promoters for their promotion and sale of unregistered securities, and that litigation has been

   consolidated into a Multidistrict Litigation pending in this District, over which Undersigned counsel

   have been appointed Co-Lead Counsel. After FTX declared bankruptcy, Binance was announced as

   the second would-be “rescuer” of Voyager. The SEC objected to Binance’s proposed purchase of

   Voyager and that sale has been stayed by the federal appeals court.

              13.   Undersigned counsel now represents Plaintiffs and the putative class members in this

   class action against Binance because it, too, has offered and sold unregistered securities to investors

   throughout the country while operating as an unregistered national exchange and clearing agency.

              14.   The Commodity Futures Trading Commission (“CFTC”) agrees. On March 27, 2023,

   the CFTC sued Binance, alleging that the crypto trader violated U.S. trading laws by trading

   unregistered crypto derivatives. The CFTC also alleged that Binance coached its employees and VIP

   members on how to circumvent regulations and compliance controls to maximize their profits. “For

   years, Binance knew they were violating CFTC rules, working actively to both keep the money flowing

   and avoid compliance,” CFTC Chairman Rostin Behnam said in a statement. “This should be a

   warning to anyone in the digital asset world that the CFTC will not tolerate willful avoidance of U.S.

   law.”

              15.   The SEC also agrees. On June 5, 2023, the SEC sued Zhao, Binance.com, and its U.S.-

   based affiliates, BAM Management U.S. Holdings, Inc. (“BAM Management”) and BAM Trading

   Services Inc. d/b/a Binance.US (“Binance.US”), asserting thirteen violations of federal securities law.

   Complaint, SEC v. Binance Holdings Ltd., No. 23-cv-01599, Dkt. No. 1 (D.D.C. June 5, 2023). The SEC

   alleges that Binance unlawfully offered and sold various unregistered securities, including BNB,


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   BUSD, several crypto-lending products, and a staking-as-a-service program. The SEC also alleges that

   defendants operate as an unregistered exchange, broker-dealer, and clearing agency for U.S. citizens

   by bringing together interstate orders of multiple buyers and sellers of securities through a trading

   facility.

               16.   The SEC also alleged that, to further evade securities laws, Binance (i) surreptitiously

   controls U.S.-based Binance.US despite its public claims to the contrary and (ii) employs “sham”

   measures to purportedly block U.S. user access to Binance.com when, in fact, it enables high-value

   U.S. VIP members to continue to invest on that platform; and (iii) commingles or diverts billions of

   dollars of U.S.-based Binance.US assets to two Zhao-owned entities: Sigma Chain AG (“Sigma

   Chain”) and Merit Peak Limited (“Merit Peak”).

               17.   Consistent with those allegations, Binance.com’s Chief Compliance Officer stated “we

   do not want [Binance].com to be regulated ever” in one email, and admitted in another that “we are

   operating a fking unlicensed securities exchange in the USA bro.”

               18.   To summarize, as SEC Chair Gary Gensler stated: “Zhao and Binance entities engaged

   in an extensive web of deception, conflicts of interest, lack of disclosure, and calculated evasion of

   law.”

               19.   Plaintiffs thus bring this action to hold Binance and its affiliated promoters

   accountable for their flagrant sale and promotion of unregistered securities in violation of the securities

   laws.

                                                   PARTIES

               a.    Plaintiffs

               20.   Plaintiff Michael Sizemore is a citizen and resident of the State of California. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Sizemore purchased, repurchased,

   invested, and/or reinvested unregistered securities from Binance. Plaintiff Sizemore did so after being


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   exposed to some or all of Defendants’ misrepresentations and omissions regarding the Binance

   platforms as detailed in this complaint, and executed trades on the Binance platforms after those

   misrepresentations and omissions were made. As a result, Plaintiff Sizemore has sustained damages

   for which Defendants are liable.

            21.    Plaintiff Rudy Vazquez is a citizen and resident of the State of Florida. He is a natural

   person over the age of 21 and is otherwise sui juris. Plaintiff Vazquez purchased, repurchased, invested,

   and/or reinvested unregistered securities from Binance. Plaintiff Vazquez did so after being exposed

   to some or all of Defendants’ misrepresentations and omissions regarding the Binance platforms as

   detailed in this complaint, and executed trades on the Binance platform after those misrepresentations

   and omissions were made. As a result, Plaintiff Vazquez has sustained damages for which Defendants

   are liable.

            22.    Plaintiff Mikey Vongdara is a citizen and resident of the State of Florida. He is a natural

   person over the age of 21 and is otherwise sui juris. Plaintiff Vongdara purchased, repurchased,

   invested, and/or reinvested unregistered securities from Binance. Plaintiff Vongdara did so after being

   exposed to some or all of Defendants’ misrepresentations and omissions regarding the Binance

   platforms as detailed in this complaint, and executed trades on the Binance platform after those

   misrepresentations and omissions were made. As a result, Plaintiff Vongdara has sustained damages

   for which Defendants are liable.

            23.    Plaintiff Gordon Lewis is a citizen and resident of the State of Colorado. He is a natural

   person over the age of 21 and is otherwise sui juris. Plaintiff Lewis purchased, repurchased, invested,

   and/or reinvested unregistered securities that were offered or sold by Binance, including BNB from

   the Crypto.com platform. Plaintiff Lewis did so after being exposed to some or all of Defendants’

   misrepresentations and omissions regarding the Binance platforms as detailed in this complaint, and

   purchased, repurchased, invested, and/or reinvested unregistered securities offered or sold by


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   Binance, including BNB, after those misrepresentations and omissions were made. As a result, Plaintiff

   Lewis has sustained damages for which Defendants are liable.

           b.      Defendants

           24.     The platforms available at Binance.com and Binance.US were founded by, and are

   maintained and operated by, an opaque web of corporate entities, including those identified below, all

   of which are beneficially owned and controlled by Zhao. All the entities were co-mingling funds and

   operating as a single enterprise in operating the Binance platforms.

           25.     Defendant Changpeng Zhao (“Zhao”), commonly known as CZ, is the founder of

   Binance and CEO of Binance.com, and through at least March 2022, the Chairman of the Board of

   Directors for both BAM Management and Binance.US. Zhao launched the Binance.com platform in

   2017 from Shanghai, China and has, at all times, controlled all of Binance’s business activities. Zhao

   is a Canadian citizen who, based on recent media reports, currently resides in Dubai, United Arab

   Emirates. Zhao has directly or indirectly owned the scores of entities that collectively operate the

   Binance platforms. In addition to the entities that operate the Binance platforms, Zhao is the direct

   or indirect owner of entities that have engaged in proprietary trading activity on the Binance platforms,

   including Merit Peak Limited and Sigma Chain AG, and Zhao is also the direct or indirect owner of

   approximately 300 separate Binance accounts that have engaged in proprietary trading activity on the

   Binance trading platforms. Between October 2022 and January 2023, Zhao personally received $62.5

   million from one of the Binance bank accounts. Zhao has never been registered in the United States

   in any securities-related capacity, state or federal.

           26.     Defendant Binance Holdings Limited (“Binance.com”) d/b/a Binance.com is

   incorporated in the Cayman Islands and founded and owned by Zhao. Through its Binance.com

   platform, Binance.com offers trading with 350 crypto assets and various other crypto-related securities

   in 100 countries. Binance.com operates through a number of subordinate or affiliated entities, in


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   multiple jurisdictions, all tied to Zhao as the beneficial owner. Binance and Zhao deny the existence

   of a true Binance or Binance.com headquarters; however, billions of dollars from the Binance

   platforms flowed through dozens of Binance and Zhao-owned U.S.-based bank accounts.

   Binance.com has never been registered in the United States in any securities-related capacity, state or

   federal.

              27.   Defendant Binance Holdings (IE) Limited (“Binance IE”) is incorporated in Ireland

   and directly or indirectly owned by Zhao. Binance IE is a holding company that has directly or

   indirectly owned at least 24 corporate entities that have acted as Binance’s digital asset and virtual asset

   service providers in a variety of jurisdictions and held Binance’s non-U.S. regulatory licenses. Binance

   IE has never been registered in the United States in any securities-related capacity, state or federal.

              28.   Defendant Binance (Services) Holdings Limited (“Binance Services”) is incorporated

   in Ireland and directly or indirectly owned by Zhao. Binance Services is a holding company that has

   directly or indirectly owned at least 43 different corporate entities, including companies that conduct

   technology and operations services for Binance, hold the intellectual property related to Binance’s

   matching engines and financial products, and enter into contracts with vendors, as well as a company

   called Ality Technologies DE LLC that functions as Binance’s “U.S. Tech/Ops Hub.” Binance

   Services owns Binance.com. Binance Services has never been registered in the United States in any

   securities-related capacity, state or federal.

              29.   Defendant BAM Management U.S. Holdings, Inc. (“BAM Management”) is a

   Delaware corporation which owns Defendant Binance.US. BAM Management is part of a series of

   shell corporations which ultimately leads back to Zhao. When the Binance.US platform launched in

   2019, BAM Management was wholly owned by BAM Management Company Limited, a Cayman

   Islands company, which in turn was wholly owned by CPZ Holdings Limited, a British Virgin Islands

   company that was owned and controlled by Zhao. In concert with their subsidiary, BAM Management


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    raised $200 million for itself by misrepresenting to investors trading volume estimates, and the

    existence of manipulative trading controls on Binance.US. In addition, BAM Management receives

    money from other Zhao-backed entities such as $16 million from Merit Peak in 2020.

            30.     Defendant BAM Trading Services Inc. (“Binance.US”), d/b/a Binance.US is a

    Delaware corporation, wholly owned by BAM Management. Binance.US has its headquarters and

    principal place of business within this District, in Miami, Florida. Binance.US, under the name “BAM

    TRADING SERVICES INC.,” has a money transmission license in Florida and is registered in Florida

    as a foreign profit corporation. Binance.US operates its own platform, a top five spot digital asset

    trading platform, that offers its services to U.S. residents in 46 states and 8 U.S. territories. However,

    Binance.US relies on Binance’s services and technology, obtained through intercompany agreements,

    to operate. Binance.US offers the purchase and sale of crypto securities, along with services including

    OTC and Convert Trading, and One Click Buy Sell through its platform with an average monthly

    trading volume of $24 billion in early 2022. In 2019, Zhao and Binance launched both BAM

    Management and Binance.US, with Zhao as the Chairman of their Boards of Directors until March

    2022 and who remains a beneficial owner directly or indirectly owning between 81% and 100% of

    their equity. Binance.US employees referred to Zhao and Binance’s control as “shackles” that often-

    prevented Binance.US from freely operating its platform. One former CEO felt that she and her team

    had been turned into puppets, while a second found the “level of connection” to be a substantial

    “problem.” The second Binance.US CEO testified, “[W]hat became clear to me at a certain point was

    CZ was the CEO of BAM Trading [(Binance.US)], not me.”

            31.     Defendant Paxos Trust Company, LLC (“Paxos”) is a New York limited purpose trust

    company. Beginning in September 2019, pursuant to a “Stablecoin as a Service” agreement with a

    Binance affiliate, Paxos issued in partnership with Binance.US the crypto asset BUSD, which was

    approved by and under the supervision of the New York Department of Financial Services


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    (“NYDFS”). BUSD is a Binance-branded U.S. Dollar denominated crypto asset on the Ethereum

    blockchain. In December 2019, Binance.US entered into a partnership with Paxos, whereby Paxos

    provided certain services with respect to BUSD purchases and sales on the Binance.US platform.

    Effective February 21, 2023, Paxos ceased issuing new BUSD pursuant to an NYDFS order.

            32.     Defendant Jimmy Butler is a star basketball player for the Miami Heat and is a citizen

    and resident of Florida. Butler was a paid spokesperson for Binance.

            33.     Defendant, Ben Armstrong, a YouTuber with more than 1.5 million subscribers to his

    YouTube page, was a Binance Affiliate who received kickbacks for promoting and endorsing Binance,

    and is a citizen and resident of Atlanta, Georgia. Mr. Armstrong’s promotions were published on

    public social media accounts accessible to plaintiffs nationwide, including in Florida. Mr. Armstrong

    has made various appearances in the State of Florida throughout the applicable time period, and has

    on information and belief promoted Binance and its unregistered offerings and conducted crypto

    related activities in the State of Florida during those appearances, including at the Bitcoin conferences

    in Miami in 2021, 2022 and 2023, DCentral Miami on November 28–November 29, 2022, the Web3

    Summit in Miami on November 30–December 1 2022, as well as the Ben Armstrong Book Tour X

    Quantum in Miami in January 2023.

                                     JURISDICTION AND VENUE

            34.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

    § 1332(d)(2)(A) because this is a class action for a sum exceeding $1,000,000,000.00 (one billion

    dollars), exclusive of interest and costs, and in which at least one class member is a citizen of a state

    different than the Defendants.

            35.     This Court has personal jurisdiction over Defendants because they conduct substantial

    and not isolated business in Florida, and/or have otherwise intentionally availed themselves of the

    Florida consumer market through the promotion, marketing, and sale of unregistered securities in


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    Florida—including to Plaintiffs in this case—which constitutes committing a tortious act within the

    state of Florida. Defendants have also marketed and participated and/or assisted in the sale of

    Binance’s unregistered securities to consumers in Florida. Further, Defendants have engaged in a

    conspiracy in which some of the co-conspirators—including some who are Defendants in this

    action—committed overt acts in furtherance of the conspiracy in the State of Florida. This purposeful

    availment renders the exercise of jurisdiction by this Court over Defendants permissible under

    traditional notions of fair play and substantial justice.

            36.     Defendant Binance.US (under Zhao’s and Binance’s control) obtained Florida

    business licenses and transacted business in this District, including through the operation of the

    Binance.US platform, which was accessed by individuals in Florida.

            37.     Until September 2019, Binance (as controlled by Zhao) made the Binance.com

    platform publicly and readily available for trading to customers in Florida. After that time, as further

    alleged herein, Binance feigned efforts to exclude U.S. customers from Binance.com but knowingly

    and intentionally permitted and even encouraged certain U.S.-based customers to use the Binance.com

    platform after that date.

            38.     Binance and Zhao actively solicited U.S. investors to trade on the Binance platforms.

    Binance and Zhao, for example, regularly solicited U.S. investors via their social media and other

    internet postings to trade on both Binance platforms. Zhao also directed other Binance employees to

    actively solicit and take other steps to retain U.S. investors on the Binance.com platform, even after

    Binance publicly announced in June 2019 that it would no longer serve U.S. investors. By then,

    Binance estimated that it had over 1.47 million U.S.-based investors on the Binance.com platform,

    and it continued to maintain a substantial U.S. customer base for several years thereafter. Many of

    these customers are located within the District. In addition, Binance has employees located in the




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    United States, and residents of this District invested in schemes Binance offered and sold as securities

    including BUSD and the Simple Earn program.

            39.     Moreover, until at least the end of 2022, Binance, at Zhao’s direction, maintained

    custody and control of the crypto assets deposited, held, traded, and/or accrued by customers on the

    Binance.US platform.

            40.     Venue is proper in this District under 28 U.S.C. § 1391 because thousands of Class

    Members reside in this District; Defendants engaged in business in this District; a substantial part of

    the events or omissions giving rise to the claims at issue occurred in this District; this District is where

    Defendant Butler resides and where Binance has its domestic headquarters; and because Defendants

    entered into transactions and/or received substantial profits from Class Members who reside in this

    District.

            41.     All conditions precedent to the institution and maintenance of this action have been

    performed, excused, waived, or have otherwise occurred.

                                         FACTUAL ALLEGATIONS

        I. The Binance.com Platform

            42.     Binance helps run and support the Binance.com platform, the world’s largest

    centralized, web-based crypto-products platform, which offers its customers the ability to, among

    other things, buy, hold, loan, pledge, and trade digital assets including cryptocurrency and related

    financial products and derivatives. According to the platform’s website, it boasts an average daily trade

    volume of $65 billion and facilitated 300 billion spot transactions in 2022.




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            43.     The Binance.com platform allows users to trade more than 350 cryptocurrencies and

    has 120 million registered users.




            44.     Binance.com was founded by its current CEO, Changpeng Zhao, and certain other

    Defendants, on or about July 14, 2017.

            45.     At its core, the Binance.com platform facilitates trades between market participants by

    transmitting orders through an internal automated matching engine to buy or sell into what Binance



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    calls order books. These order book-based markets execute transactions based generally on price-time

    priority pursuant to non-discretionary order matching methodology.

            46.     The Binance.com platform offers “spot” (immediate) market trading through an

    order-matching functionality similar to that of a traditional securities exchange. According to Binance,

    when an investor places an order on the Binance.com platform, the order enters an internal automated

    matching engine, called “MatchBox,” which matches buy-and-sell orders based on programmed, non-

    discretionary rules that govern how orders will interact. When separate customers’ buy and sell orders

    have prices that overlap, MatchBox executes the trade and removes the orders from the order book.

    Orders that do not execute immediately are typically ranked and displayed in price-time priority,

    meaning that orders placed earlier in time are prioritized for any given price. MatchBox does not

    indicate to one party the identity of the other party to a trade. Upon execution of a trade, other

    functionality in the Binance.com platform settles the trade.

            47.     Customers may also purchase and trade digital assets on Binance.com through other

    trading protocols, including bilateral transactions (also called “OTC”) in which Binance.com acts as

    one counterparty to the trade, profiting from the spread between their bid to the initial party and ask

    quotations to other third parties. Binance.com customers can also acquire digital assets directly from

    Binance.com through its “Buy Crypto” functionality.

            48.     In marketing Binance OTC, Binance has touted “a number of advantages to trading

    with us,” including “Fast Settlement” and a “Simple Process – The trading discussion happens on

    chat, and a trade can be confirmed in as quickly as 1-2 minutes from the time you reach out to us for

    a price. Once we agree on a price, we fully take care of the settlement process by moving the coins

    you’re selling out of your Binance account and the coins you’re buying in . . . you don’t need to send

    coins anywhere.”




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            49.     Since the launch of the Binance.com platform, Binance provided OTC trading services

    through Merit Peak—a Zhou-owned entity—serving as the counterparty to customers on the

    Binance.com platform, and Merit Peak also provided market making services on the Binance.US

    platform.

            50.     In part to fund the creation of the platform, from approximately June 26 to July 3,

    2017, Zhao and Binance conducted an Initial Coin Offering (“ICO”) of BNB that raised

    approximately $15 million from investors globally, including U.S. investors, by selling 100 million

    BNB tokens at an average price of $0.15 per token. As of June 27, 2023, BNB was trading as high as

    $239.16 and reached an all-time high of $676.32 on May 3, 2021.

            51.     To promote the BNB ICO, Binance published a “Binance Exchange” whitepaper (the

    “Binance Whitepaper”) announcing Binance’s ambition to build “a world-class crypto exchange,

    powering the future of crypto finance,” in which BNB would play an integral role as a so-called

    “exchange token”—i.e., a crypto asset associated by its issuer with a crypto asset trading platform that

    the issuer markets as an investment in the success of the platform itself. Central to the Binance

    Whitepaper’s proposal was the “Binance Exchange Matching Engine” that would match crypto asset

    buy and sell orders and be “capable of sustaining 1,400,000 orders/second, making Binance one of

    the fastest exchanges in the market.”

            52.     Since BNB’s inception, it has been offered and sold as an investment contract and

    thus, a security, due to Binance stating that purchasing BNB was an investment in Binance and its

    goal of creating a successful crypto asset trading platform. Moreover, Binance directly ties the success

    of BNB to the success of the Binance platforms using multiple maneuvers including using Binance

    profits to buy and destroy an increasing amount of BNB to create scarcity. As of June 2023, BNB is

    one of the top five most valuable crypto assets, by market cap, in the world.




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            53.       According to the SEC, from the time it launched the Binance.com platform, Binance,

    under Zhao’s control, has acted as an exchange, clearing agency, and broker-dealer in crypto asset

    securities without registering in those capacities.

            54.       Since Binance’s inception and the launch of Binance.com, Zhao has been Binance’s

    ultimate decision maker and Binance.com’s CEO. All Binance employees directly or indirectly report

    to him. He had and continues to have the ability to exercise control—and does in fact exercise such

    control—over all aspects of Binance’s business, including the operation of the Binance.com platform,

    and he directs and oversees the platform’s various functions and services.

            55.       Binance, through the Binance.com platform, serves over 100 million customers

    throughout the world, and had an estimated 1.47 million U.S.-based investors in 2019. Much of its

    trading volume and profit arises from its extensive solicitation within the United States, including in

    this District. Binance holds itself out as operating the world’s “largest crypto exchange by trade

    volume” and is reported to have amassed over half the global market share for digital asset exchange

    activity as of the end of 2022.

            56.       Binance.com offers a VIP program that gives additional benefits to traders who have

    more than 25 Binance Coins in any Binance.com wallet and trade over a certain threshold during a

    30-day period. There are four levels of Binance VIP: Trader VIP, Holder VIP, Investor VIP and

    Borrower VIP. These members enjoy reduced fees, lower interest rates, higher borrowing limits and

    other benefits.

            57.       Binance has partnered with individuals such as Defendants Butler and Armstrong to

    publicly promote Binance and solicit new customers, including through traditional advertisements and

    through its “Affiliate Program” whereby partners receive kickbacks or commissions based on fees

    earned from individuals who enroll through their “Affiliate” links.




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       II. Corporate Structure

            58.     The SEC provided the following “high-level graphical representation of a certain

    limited number of relationships and entities” in the Binance enterprise, including the percentages

    owned by Zhao:




    Complaint, SEC v. Binance Holdings Ltd., No. 23-cv-01599, Dkt. No. 1 (D.D.C. June 5, 2023).

            59.     As depicted in the chart above, Binance is not a single corporate entity, but rather an

    opaque web of corporate entities, all of which are ultimately controlled by Zhao. Though started from

    China, Binance has routinely moved its offices and changed entities to uphold its corporate policy of

    avoiding regulation. Binance chooses not to disclose the location of its executive offices, instead

    claiming that the headquarters is wherever Zhao is located at any point in time. Zhao explained this

    strategy during a June 2019 internal meeting, stating that Binance conducts its operations through

    various entities incorporated in numerous jurisdictions to “keep countries clean [of violations of law]”

    by “not landing .com anywhere. This is the main reason .com does not land anywhere.” Binance has



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    had operations in at least the following places: China, Singapore, Malta, Dubai, Tokyo, Bermuda,

    Jersey, Cayman Islands, and the United States.

           60.     Zhao directly or indirectly owns and controls all the corporate entities, including

    Binance.com, Binance IE, Binance Services, and dozens of other corporate vehicles included in the

    Binance ecosystem, that operate the Binance platforms together as a common enterprise. Binance’s

    corporate organizational chart includes over 120 entities incorporated in numerous jurisdictions

    around the world. At times, at least some of those entities, including Binance, Binance IE, and Binance

    Services, have commingled or diverted funds, relied on shared technical infrastructure, and engaged

    in activities to collectively advertise and promote the Binance brand.

           61.     Binance’s reliance on a maze of corporate entities to operate the Binance platforms is

    deliberate; it is designed to obscure the ownership, control, and location of the Binance platforms.

    Consistent with this design, Binance.com’s enigmatic Terms of Use define “Binance” as “an ecosystem

    comprising Binance websites (whose domain names include but are not limited to

    https://www.binance.com/en), mobile applications, clients, applets and other applications that are

    developed to offer Binance Services, and includes independently-operated platforms, websites and

    clients within the ecosystem” and the “Binance Operators” to include “all parties that run Binance,

    including but not limited to legal persons (including Binance UAB), unincorporated organizations and

    teams that provide Binance Services and are responsible for such services.” The Terms of Use also

    state that Binance Operators and Binance are the same thing and the composition of the Binance

    Operators may change at any time.

           62.     Binance is so effective at obfuscating its location and the identities of its operating

    companies that it has even confused the Chief Strategy Officer of Binance.com. For example, in

    September 2022 he was quoted as saying that “Binance is a Canadian company.” The Chief Strategy




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    Officer’s statement was quickly corrected by a Binance spokesperson, who clarified that Binance.com

    is an “international company.”

            a.      Zhao’s Control over Binance

            63.     As founder of Binance and CEO of Binance.com, Zhao has been responsible for all

    major strategic decisions, business development, and management of the Binance enterprise. Zhao

    also involves himself in the minutiae of Binance.com’s operations. For example, Zhao personally

    approved an approximately $60 expense related to office furniture in January 2021, a month in which

    Binance.com earned over $700 million in revenue.

            64.     Zhao has been responsible for directing and overseeing the creation and operation of

    Binance’s trade matching engines, websites, interface functionalities, and order entry system, all of

    which are tools designed to facilitate sales and solicitations of unregistered crypto-related securities.

    Zhao is also the public face of Binance; he represents Binance in public speaking engagements and

    appearances, gives interviews to magazines and other news media, and frequently authors Tweets and

    blog posts related to Binance business. Zhao possesses the power to direct the management and

    policies of the Binance entities, whether through the ownership of voting securities, by contract, or

    otherwise. There is effectively no genuine separateness between Zhao and Binance and as it relates to

    the management and policies of the entities, such that Zhao and Binance are practically synonymous.

            65.     Over time, Zhao hired a senior management team that included Samuel Lim

    (Binance.com’s first CCO from April 2018 to at least January 2022). However, Zhao has been involved

    in and ultimately retained control over all critical decisions for the enterprise, including which products

    to offer and whether and how to implement and enforce anti-money laundering (“AML”) controls

    and Know Your Customer (“KYC”) procedures. Zhao is ultimately responsible for evaluating the

    legal and regulatory risks associated with Binance’s business activities, including those related to the

    launch of Binance.US, and has been directly involved in discussions with compliance consultants and


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    lawyers concerning legal and regulatory issues implicated by Binance’s business activities. Zhao

    answers to no one but himself since neither Binance.com nor Binance has a board of directors.

            b.      Binance.com and the Binance.com Platform

            66.     Binance.com is the corporate entity which, since at least July 2017, has operated the

    Binance.com platform, an international crypto asset trading platform. In that time, Binance, under

    Zhao’s control, acted as an exchange, clearing agency, and broker-dealer in crypto asset securities

    without registering in those capacities. The Binance.com platform markets itself as being available to

    customers in more than 100 countries; however, Defendants consistently and misleadingly claimed

    that Binance and the Binance.com trading platform did not serve U.S. customers.

            c.      Binance.US

            67.     In 2019, the Binance.US platform was launched to serve U.S. based customers, in

    contrast to the Binance.com platform. The Binance.US platform is ostensibly controlled by BAM

    Management and Binance.US. Zhao has claimed that these entities independently control the

    operation of the Binance.US platform; however, Zhao and Binance have maintained control over

    Binance.US throughout its existence.

            d.      Other Binance Entities

            68.     Binance IE is a holding company that has directly or indirectly owned at least 24

    corporate entities that have acted as Binance’s digital asset and virtual asset service providers in a

    variety of jurisdictions and held Binance’s non-U.S. regulatory licenses.

            69.     Binance Services is a holding company that has directly or indirectly owned at least 43

    different corporate entities, including companies that conduct technology and operations services for

    Binance, hold the intellectual property related to Binance’s matching engines and financial products,

    and enter into contracts with vendors, as well as a company called Ality Technologies DE LLC that

    functions as Binance’s “U.S. Tech/Ops Hub.”



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            70.     Binance UAB is incorporated in Lithuania and directly or indirectly owned by Zhao.

    Binance UAB is the only entity specifically identified as one of the indeterminate groups of “Binance

    Operators” referenced in Binance’s Terms of Use.

            71.     Merit Peak is incorporated in the British Virgin Islands where Zhao is a beneficial

    owner and several Binance employees conducted its operations. Merit Peak has primarily engaged in

    over the counter (“OTC”) transactions with institutional counterparties, serving as an undisclosed

    intermediary to transfer customer money. It was also one of the early market makers on the

    Binance.US platform and diverted $16 million to BAM Management to fund Binance.US. Since the

    launch of Binance.US, Merit Peak’s bank account has received over $20 billion of customer funds

    from both Binance platforms as a “pass through” to trust entities.

            72.     Sigma Chain is incorporated in Switzerland where Zhao is a beneficial owner and

    several Binance employees conducted its operations. It has engaged in proprietary trading in Binance’s

    various markets, including its markets for digital asset derivatives, serving as the main market maker

    for the international platform. Sigma Chain participates in OTC trading, Convert Trading, and One

    Click Buy Sell services while serving as one of the counterparties to the Binance.US platform. By 2021,

    at least $190 million was transferred from Zhao entities, including Binance.US, to Sigma Chain, with

    the entity spending $11 million of Binance.US’s funds on a yacht. Binance employees within Sigma

    Chain have also engaged in manipulative “wash trading” from 2019 through at least June 2022 that

    inflated Binance.US’s trading volume artificially to deceive equity investors.

      III. Account Creation

            73.     To utilize any of the functionalities on the Binance.com platform, investors must

    create and fund accounts with Binance.com. Customers must have sufficient assets in their accounts

    to cover the value of any trading order, plus applicable fees. Once customers have funded their




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    Binance.com accounts, they can buy, sell, transfer, and store crypto assets on the Binance.com

    platform.

              74.   Binance.com customers may open accounts through the user interface available at

    www.binance.com, through a mobile application, and by direct connection to Binance.com’s matching

    engines via Binance.com’s application programming interface (“API”).

              75.   Customers can establish and fund Binance.com accounts with fiat currency or crypto

    assets. There are separate procedures for depositing crypto assets and for depositing fiat currency. To

    deposit crypto assets, customers are required to transfer crypto assets from their own crypto asset

    wallets on the blockchain to wallets that Binance.com controls. Binance.com holds these customer

    crypto assets in omnibus wallets, and it tracks transactions on the Binance.com platform on an internal

    ledger.

              76.   If a customer submits a request to withdraw crypto assets from the Binance.com

    platform, Binance.com transfers the requested amount of crypto assets from its omnibus wallets to a

    wallet designated by the customer on the relevant blockchain.

              77.   Since at least 2018, customers could fund their accounts and purchase crypto assets

    with U.S. dollars or other fiat currencies by, among other things, linking credit cards through a third-

    party processor, or through bank accounts or payment services. It also has corresponding methods of

    permitting customers to withdraw in fiat.

              78.   Until at least 2021, accounts in the name of Binance entities, beneficially owned by

    Zhao, sent billions of dollars of customer assets to U.S.-based bank accounts in the name of Merit

    Peak, which transferred to Paxos all of those funds that appear to relate to the issuance of BUSD. The

    use of Merit Peak as an intermediary to transfer platform customer money to buy BUSD presented

    an undisclosed counterparty risk for investors.




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               79.   Binance.com clears and settles all trades on the Binance.com platform. After matching

    a buy and sell order, Binance.com settles the resulting trade by debiting and crediting the accounts

    associated with each of the counterparties on the internal ledger Binance.com maintains. Customer

    crypto assets generally stay in Binance.com-controlled omnibus wallets.

               80.   Account creation and management on the Binance.US platform functions largely the

    same as on the Binance.com platform. The main differences are that (1) Binance.com offers certain

    trading options, such as futures, that are not available through Binance.US, (2) Binance.com allows

    you to use a debit or credit card for transactions, and (3) Binance.com has six times more

    cryptocurrencies on its platform.

      IV. Profit Sources

               a.    Fees

               81.   The Binance platforms derive their revenue primarily from taking fees for transactions

    in crypto assets effectuated through the platforms. Transaction fees vary based on the product and

    the customer’s trading volume. For spot trading, Binance.com typically charges between 0.015 percent

    and 0.2 percent of the nominal value of transactions, depending on various parameters. Binance.com

    also charges fees for withdrawals and for trading on margin. The fees are generally the same for both

    platforms.

               82.   By 2018, Binance.com had become the world’s largest exchange by trading volume

    with a market cap exceeding $1.3 billion. By 2021, Binance.com’s trading volume spiked to $9.58

    trillion, remaining the largest crypto asset trading platform in the world. This large trading volume

    allowed the platform to earn at least $11.6 billion from U.S. customers between 2018 and 2021. By

    May 2021, Binance.com’s monthly revenue earned from derivatives transactions increased to $1.14

    billion.

               83.   It is estimated that Binance.US makes about $80 million in revenue each year.



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            84.     In a December 2022 interview, Zhao estimated that transaction revenue accounts for

    approximately 90 percent of Binance.com’s revenue. A meaningful percentage of that revenue has

    been and continues to be derived from digital asset derivative transactions entered into by U.S.

    customers, including customers in Florida.

            85.     According to internal documents for the month of August 2020, the Binance.com

    platform earned $63 million in fees from derivatives transactions and approximately 16% of its

    accounts were held by customers Binance identified as being located in the United States.

            b.      Offer and Sale of Tokens

            86.     The offer and sale of BNB was integral in propping up and increasing the value of

    Binance and its platforms. As the price of BNB rose from consumer investment and demand, Binance

    and Zhao benefited from the direct increase in the value of their enormous holdings of BNB. To

    further these profits, Binance and Zhao have consistently led BNB investors to believe that BNB’s

    price is tied to the success of the Binance platforms and the Binance ecosystem.

            87.     The offer and sale of BUSD was important to legitimize the platforms. The stable coin

    would in theory remain pegged to the U.S. dollar and backed by U.S. dollar reserves. It would thereby

    provide a stable alternative to the high volatility of most cryptocurrencies, which has made crypto

    investments less suitable for common transactions.

            88.     In addition to BNB and BUSD, other tokens like SOL, ADA, MATIC, FIL, ATOM,

    SAND, MANA, ALGO, AXS, and COTI were actively traded on both Binance platforms, for

    consideration including U.S. dollars, fiat currencies, or other crypto assets. Having a wide selection of

    non-Binance tokens allowed Binance to attract more consumers to its platforms and thereby benefit

    from the fees generated by the resulting transactions. Binance directly offered, sold, and solicited




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    purchases and transactions for these tokens through its platforms. Binance also promoted these and

    other tokens on its websites and platforms. 4

           c.      Offering Programs That Benefit Binance and Investors

           89.     Binance also marketed products and programs that would benefit itself by

    incentivizing consumers to invest their money and tokens with Binance platforms.

           90.     For example, the Simple Earn programs were marketed as paying interest to investors

    who lent their crypto assets to Binance.com for fixed or flexible lengths of time.

           91.     BNB Vault is a similar program that is limited to holders of BNB and described on

    Binance.com as a “BNB yield aggregator” whereby investors can lend their BNB to Binance.com to

    earn investment returns.

           92.     These products sometimes involved staking programs like “Launchpool,” a product

    advertised as rewarding users for staking tokens in connection with new token launches.

           93.     Binance.US offered consumers a similar staking program as a superior and easier way

    to obtain staking rewards than individual staking by pooling the crypto assets of many investors. In

    exchange for staking with Binance.US the company promises consumers rewards rates of up to

    12.00%.

           d.      Allegations of Transfers of Customer Funds

           94.     Zhao and Binance also profited from unfettered and rarely scrutinized access to huge

    customer fund accounts.




    4
      See, e.g., https://www.binance.com/en/price/solana (offering SOL and a description of the
    token); https://academy.binance.com/en/articles/what-is-solana-sol#Closing-Thoughts (discussing
    and promoting SOL through the Binance Academy website).

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              95.   The SEC has alleged that Zhao and Guangying Chen received billions of dollars of

    customer funds. 5 Zhao received the funds via an intermediary holding company called Key Vision

    Development Limited. An analysis of bank statements of Binance and Zhao’s companies suggests that

    $12 billion was sent to Zhao and $162 million to a company controlled by Chen. The SEC alleges that

    most of these funds are now in offshore accounts.

              96.   Other unexplained transfers of customer funds include bank records showing Prime

    Trust, a custodian firm based in Nevada, who was holding Binance.US customer funds, moved $650

    million in wire transfers to the Binance.US account during Q1 2021. It is not clear after review “why

    the transfers were made or whether the money belonged to Binance.US customers.” 6

        V. Binance Offered and Sold Unregistered Securities

              97.   For years now, Binance.com and Binance.US have violated federal and state securities

    laws by illegally conducting unregistered offers and sales of securities to U.S. investors.

              98.   Both platforms allowed consumers to participate in the offer and sale of tokens like

    BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, and COTI. On the

    Binance.com platform, consumers could participate in the offer and sale of investment programs like

    “BNB Vault”, and “Simple Earn”. On the Binance.US platform, consumers could participate in the

    offer and sale of a staking-as-a-service program (“Staking Program”).

              99.   No exemption from registration applied or applies for these public offerings of

    securities. Neither platform ever registered any of their offers and sales of the tokens listed above or

    their investment programs with the SEC, the State of Florida, or any other state’s analogous state

    agency.


    5
        https://www.coindesk.com/policy/2023/06/08/binance-redirected-12b-to-firms-controlled-by-
    ceo-changpeng-zhao-sec-says/.
    6
       https://www.kitco.com/news/2023-02-17/Regulators-now-directly-targeting-Binance-and-their-
    U-S-partners-and-affiliates.html.

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            a.      BNB

            100.    BNB is an ERC-20 token that Binance issued on the Ethereum blockchain. Each BNB

    token is effectively identical to every other BNB token, and the price of all BNB tokens increases or

    decreases together. In June 2017, Binance began issuing BNB—which was called “Binance Coin” until

    February 2022—in an ICO explicitly meant to fund the launch of the Binance.com platform.

            101.    BNB has traded on the Binance.com platform since its launch in July 2017, and it has

    traded on the Binance.US platform since its launch in September 2019. BNB is also traded and has

    also been traded on a wide array of other platforms, including for example Crypto.com, KuCoin,

    BitGlobal, Coinbase, and FTX. Plaintiff Lewis, for instance, only purchased BNB on Crypto.com.

            102.    Binance’s BNB ICO was marketed and sold to investors globally, and Binance

    imposed no restrictions on U.S. investments in BNB or on the ability of BNB investors to immediately

    resell BNB to U.S. investors.

            103.    From the time of the ICO to the present, BNB was offered and sold as an investment

    contract and, therefore, as a security.

            104.    Binance offered and sold BNB as an exchange token, marketing it to investors as an

    investment in the success of the Binance.com platform itself and touting both the potential returns

    that investors could achieve from purchasing the token by transacting on the platform and that

    investors could expect increased demand and price for the token as the platform grew.

            105.    As described herein, Binance and Zhao provided and continue to provide essential

    managerial efforts that affected the success of the Binance enterprise and the value of BNB. Investors

    reasonably expect to derive profit from these efforts. Binance intends purchasers of BNB to rely on

    its efforts in managing tasks necessary for the tokens to achieve or retain value and functionality.

    Binance and Zhao created and support the market for, and price of, BNB tokens—including by

    controlling or influencing the issuance and availability of BNB tokens, and making determinations


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    about the concomitant rights and characteristics associated with BNB that effect its value. These

    include making judgments that directly impact the success and value of BNB, including decisions

    about how and where to make BNB available, how to deploy funds raised from initial sales/offerings

    of tokens to increase their value, and how to maintain the ongoing security of the Binance platform.

           106.    For example, in a press release from February 15, 2022, Binance touted its decision to

    merge the functions of the Binance Chain and Binance Smart Chain, which “have merged to become

    BNB Chain.” Binance told its customers that this was done in an effort to increase the potential value

    of BNB, writing that: “For BNB to reach its true potential, Binance and BSC must set sail on different

    courses. Today, Binance Chain and Binance Smart Chain (BSC) have become BNB Chain.”

           107.    Furthermore, whether purchasers invested in BNB that was sold or issued directly

    from Binance, purchased on the Binance platform, traded OTC, or purchased on another crypto

    exchange, such purchasers reasonably expected Binance to undertake efforts to enhance the value of

    the BNB ecosystem. This expectation was fostered and encouraged by Binance itself. In addition,

    because the finances, profit, and performance of Binance (as well as the finances of Binance’s

    executives) significantly depended on the value of BNB, they took steps, and had incentive to take

    steps, to maximize the value of the security through their own efforts and activities.

           108.    To promote its ICO, Binance issued the Binance Whitepaper to prospective BNB

    investors globally over the internet. The Binance Whitepaper explained that the purpose of the ICO

    was to raise money for Binance’s team to “build a world-class crypto exchange,” but that Binance

    needed the “help” of ICO “investors.” The Binance Whitepaper gave an overview of its proposed

    new crypto asset platform, touting several competitive advantages the Binance.com platform would

    supposedly have over other crypto asset platforms due to Zhao and his cohort’s supposed

    entrepreneurial and managerial expertise and control over the trading platform.




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            109.   The Binance Whitepaper repeatedly referred to ICO participants as “investors,” and

    it lauded the credentials and financial expertise of Zhao and other founding members to create a

    successful crypto asset platform. Among other things, it highlighted that Zhao had “exchange

    experience” working on the Tokyo Stock Exchange and that several other “Founding Team” members

    had experience in the securities industry. It further touted that Binance’s “team has decades of

    combined experience building and maintaining world class financial systems that shape the economy.

    We understand how these systems are built from the ground up.”

            110.   The Binance Whitepaper concluded, “We know this will be an ultra competitive space.

    There are probably hundreds, if not thousands of teams wanting, planning or doing exchanges.

    Competition will be fierce. But in this age, this is a common risk in any decent concept/startup or

    mature company. The question is: given our team, track record, experience, industry resources and

    product, do you believe we stand a better chance than the rest of the pack? If yes, then please join our

    ICO.”

            111.   During the ICO, Binance created 200 million BNB on the Ethereum blockchain and

    stated publicly that it would never issue more BNB. Binance offered 100 million of the 200 million

    BNB in the ICO at approximately $0.15 per coin, and Binance structured the ICO in phases that

    involved increasing BNB prices with each phase (effectively offering a sale discount and potential

    immediate resale profit to early BNB investors). In less than a month, Binance had sold all 100 million

    BNB tokens during the ICO’s first phase at $0.15.

            112.   In the Binance Whitepaper, Binance also stated that it would reserve 40 percent of all

    BNB tokens, or 80 million BNB, for its “Founding Team” and 10 percent, or 20 million BNB, for

    “Angel investors” who purchased BNB prior to the ICO. For the Founding Team’s BNB allocation

    of 80 million BNB, Binance established a “vesting plan” that permitted the release of 20 percent of




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    the 80 million BNB allocation, or 16 million BNB, during the ICO that was unrestricted at the time

    of issuance, and another 20 percent every year for four years.

           113.    Further, the Binance Whitepaper stated that Binance would “destroy,” or burn, half

    of the BNB over time by using Binance.com’s profits with respect to the Binance.com platform to

    repurchase and then destroy BNB. Binance subsequently announced plans to accelerate the BNB burn

    rate. In pledging to use Binance.com’s profits to decrease the supply of BNB over time, Binance gave

    BNB investors a reasonable expectation of profits because lower supply tends to increase price, similar

    to how a stock issuer uses profits to provide dividends to investors or to execute stock buybacks to

    increase the ownership stake of remaining shareholders. In other words, in stating that it would use

    the profits from the platform to effectively support the price of BNB, Binance further tied its success

    to BNB’s success as well.

           114.    Indeed, on July 9, 2019, Zhao described Binance’s planned BNB burn in an interview

    posted on YouTube, stating that a “benefit we promised in the Whitepaper is every quarter we will

    use 20 percent of our profits to buy back [BNB] at the market value … we will buy back and destroy

    those. We will destroy up to 100 million Binance coins. Basically half of all available coins …

    Financially that works the same way as a dividend economically.”

           115.    Binance raised approximately $15 million through its ICO by selling BNB to about

    20,000 investors globally. Approximately 32 U.S.-based investors purchased at least 504,000 BNB

    tokens during the ICO.

           116.    Binance pooled the proceeds of its BNB ICO to develop the Binance.com platform—

    as it stated publicly it would. The Binance Whitepaper explained to BNB investors that funds raised

    by the ICO were to build the Binance.com platform. It provided the following fund allocation: (1) 35

    percent “to build the Binance platform”; (2) 50 percent for “Binance branding and marketing,”




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    including to make Binance “popular among investors”; and (3) 15 percent in “reserve” for

    emergencies.

            117.    In public comments after the ICO was completed, Zhao noted the benefits of the ICO

    process to include brand recognition while “getting investment at the same time.”

            118.    Since the ICO, Binance has encouraged the Binance.com and Binance.US platforms’

    customers to buy BNB by offering a 25 percent discount when investors use BNB to purchase a

    crypto asset. (This discount was 50 percent in the first year after the BNB ICO.) Accordingly, Binance

    creates additional financial incentives to buy BNB, thereby increasing demand for BNB, and its value.

    The trading discounts that Binance offered BNB purchasers further tie BNB’s success, and thus BNB

    purchasers’ profits, to Binance’s success.

            119.    Binance has continued to tout the investment potential of BNB over time, and has

    continued to tell investors after the ICO that Binance’s efforts to make the Binance platforms more

    profitable will increase BNB’s value.

            120.    For example, in an interview broadcasted globally on YouTube.com on October 10,

    2018, Binance.com’s Chief Growth Officer stated, “By having people invest in BNB token, they’re

    even more interested in the success [of the Binance.com platform] . . . By holding BNB, you are

    effectively holding an influential share of the crypto project.”

            121.    In an interview broadcasted globally on YouTube.com on January 10, 2020,

    Binance.com’s Managing Director stated, “Recently we launched lending, we launched staking, we

    launched futures, all of those new businesses contribute to the value of BNB.”

            122.    In an internal Binance town hall on December 17, 2020, Zhao stated, “[M]ost [use

    cases for BNB] are still early stage … [the Binance.com platform] is [a] relatively big driving force for

    [BNB] value … For anything we are significantly involved in we’ll push BNB as much as we can.

    We’re also incentivizing the ecosystem … we have the Binance smart chain fund which we pledge


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    $100 million we’ve given out … 20-30 grants already each one of them maybe about $100K or $50K

    um just for developers to come up with new use cases.” Zhao also stated, “I believe 100% that BNB

    will outpace BTC [bitcoin] … if I didn’t believe that I would just hold BTC … I’m fully bullish that

    BNB will outrun BTC.”

           123.    In an interview with Forbes on July 29, 2021, then Binance.US CEO Brian Brooks

    stated, “[W]e have learned a lot from the BNB coin (the Binance token) about the power of coupling

    incentives inside of a smart contract with fungibility. Think about what the Binance token is—it

    represents the right to receive discounts on our trading fees, which people use it for, a lot. But

    increasingly, people are choosing to hold the token, rather than spend it for the discount because they

    found that the increased value of the token as the company grows, exceeds the financial value of the

    discounts. And so it gets our customers to act a little bit more like owners— people who want the

    company to succeed; their interests are aligned with that of the company.”

           124.    Binance has additionally worked to increase demand for BNB by seeking to create

    additional ways in which BNB can be used—thereby further increasing demand for the token and its

    value. For example, Binance launched a $7.5 billion “venture capital arm” called “Binance Labs.”

    Binance Labs has invested more than $500 million in grants to individuals and entities developing

    applications for Binance blockchains, including BNB-related applications. And in October 2022,

    Binance announced that Binance Labs was investing in seven new projects that, as a Binance founder

    described, “will grow further and positively impact the BNB Chain and the broader crypto ecosystem.”

           125.    While Binance.com initially launched BNB on its own platform, it has also sought to

    make BNB available for trading on other platforms that, like the Binance platforms, tend to attract

    investors in crypto assets. On June 28, 2017, Zhao explained, “Our current intention is to focus on

    building a successful exchange platform first. The coin will be valuable if the exchange [] has high

    trading volume, naturally people will want to buy and use the coin to pay for fees, which creates


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    circulation and liquidity. We won’t be aggressively asking other exchanges to list the coin on their

    exchange. But if they want to, we won’t (can’t) stop it. We will happily support them, as it is good for

    us to have it trading on other exchanges as well.” As of March 30, 2023, BNB was traded on more

    than 100 crypto asset trading platforms, Crypto.com, KuCoin, BitGlobal, Coinbase, and FTX. Plaintiff

    Lewis, for instance, only purchased BNB on Crypto.com.

            126.    In addition, since at least 2019, Binance has offered and sold BNB to employees in the

    United States and elsewhere by offering to pay salaries in BNB.

            127.    Publicly reminding investors what the economic reality made plain—that the Binance

    entities and their employees’ fortunes with respect to BNB were tied to BNB investors’ fortunes—

    Binance has frequently touted the popularity of Binance.com’s program of offering BNB as employee

    compensation. For example, in a February 11, 2019 interview, Zhao stated, “Almost all [employees]

    take some comp in BNB. Many take 100% in BNB. They know what we do, and how we do it, literally,

    from inside out. And it is an easy decision for them to make.”

            128.    Between 2019 and 2022, at least 37 U.S.-based Binance.com employees received over

    $3.89 million worth of BNB as salary. Binance.com did not place any restriction on these employees’

    ability to resell their BNB tokens to any person, in whatever amounts they wished.

            129.    Binance has also offered and sold BNB to recruit new employees to work with

    Binance.com or Binance.US. For example, when Zhao hired Binance.US’s first CEO, she received

    50,000 BNB as an “Incentive Bonus.”

            130.    Further, in internal town halls, Zhao frequently touted Binance.com’s Employee Stock

    Token Options Plan (“ESTOP”), which granted high performing employees BNB, essentially

    equivalent to employee stock options, as the best way for employees to profit from the growth of the

    Binance.com platform. He has also encouraged employees to hold BNB to share in Binance.com’s

    profits, noting that it would correlate closely to the company’s long-term financial growth.


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            b.      BUSD

            131.    BUSD is an ERC-20 token issued on the Ethereum blockchain.

            132.    From September 2019 through June 2023, Binance offered and sold BUSD to U.S.

    investors on both Binance platforms as part of a profit-earning scheme within the Binance ecosystem,

    touting returns for investors from simply buying BUSD or deploying it in Binance profit-generating

    programs. BUSD is also offered and sold and has been offered and sold on other crypto platforms,

    such as Crypto.com or FTX.

            133.    Since its inception, BUSD has been offered and sold as an investment contract and,

    therefore, as a security.

            134.    Pursuant to a September 5, 2019 “Stablecoin as a Service Agreement” (“BUSD

    Agreement”) between Binance (Switzerland) AG, a Binance affiliate, and Paxos, the parties agreed to

    “build and manage the platform on which BUSD can be issued and redeemed” in exchange for one

    U.S. Dollar and to maintain reserves supporting redemptions. Binance’s affiliate agreed to “list,

    market, and promote BUSD” to investors. Binance has since marketed BUSD as a so-called

    “stablecoin”—purportedly backed with cash (and cash equivalent) reserves and redeemable on a 1:1

    basis for U.S. dollars—that allows investors to participate in various profit-making schemes available

    through the Binance ecosystem. Paxos agreed to invest the BUSD reserves (essentially, proceeds from

    investors’ BUSD purchases) in profit-generating opportunities for the benefit of both Paxos and

    Binance. Paxos and Binance agreed that they would evenly split the net interest revenue earned on the

    reserves underlying BUSD.

            135.    In February 2023, over $16 billion worth of BUSD were in circulation. Approximately

    90 percent of outstanding BUSD at that time was held in wallets controlled by Binance, most of which

    was BUSD deposited by investors and held in Binance omnibus wallets.




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             136.   On February 21, 2023, NYDFS—which regulates Paxos as a limited purpose New

    York trust company and authorized it to offer BUSD subject to anti-money laundering, anti-fraud,

    and consumer protection laws—directed Paxos to stop minting BUSD “as a result of several

    unresolved issues related to [Paxos’s] oversight of its relationship with Binance.”

             137.   Through February 2023, investors in the U.S. and elsewhere could purchase BUSD

    from Paxos. After the NYDFS order, Paxos announced it would stop issuing new BUSD tokens, but

    that the stablecoin will remain “fully supported” and “redeemable” by Paxos through “at least”

    February 2024. 7 With no more BUSD being issued, the June 2023 BUSD circulation is $4.5 billion.

             138.   BUSD purchasers invested in a common enterprise with each other and with

    Binance—the BUSD ecosystem through which BUSD holders and Binance could and did earn returns

    through various forms of capital deployment. The proceeds from investor purchases of BUSD were

    purportedly pooled in reserves, and Binance earned 50 percent of the investment returns on those

    pooled assets (which increased as more investors purchased BUSD). Binance then used at least a

    portion of those returns to enable and promote the Binance ecosystem that gave BUSD its profit

    potential.

             139.   Binance has, from the outset, marketed BUSD’s profit-earning potential and referred

    to the various “APYs” (annual percentage yield) that investors may earn with respect to their BUSD

    holdings. The BUSD profit opportunities promoted by Binance include the “Binance Earn” programs,

    as well as margin and futures products.

             140.   For instance, investors were offered a “BUSD Reward Program” that promised

    interest payments to BUSD investors merely for holding BUSD on the Ethereum blockchain. Binance

    explained to investors that it would “rank all crypto addresses that hold BUSD based on the average

    daily amount of BUSD held within 30 days. After that, we distribute a set amount of BUSD according


    7
        https://paxos.com/2023/02/13/paxos-will-halt-minting-new-busd-tokens/.

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    to the percentage of the crypto addresses’ holdings relative to the total market cap of BUSD.” Binance

    continued: “In effect, the BUSD Reward Program allows you to earn additional funds on top of what

    you already earn from DeFi.” In other words, while investors’ profits with respect to Binance’s crypto

    asset security BNB came in the form of price appreciation, BUSD investors’ expectation of profits

    came from the potential for direct, interest-like payments made by Binance, in part from the proceeds

    of deploying BUSD investors’ capital.

            141.    Binance touted and promoted these profit-making opportunities. For example, in a

    September 2020 article posted on to the website, Binance celebrated BUSD hitting a $1 billion market

    cap “in just 261 days, the fastest-ever for a stablecoin.” A subsequent Binance blog post touted

    “various earning opportunities for holding BUSD in Binance,” including “Binance Flexible Savings,

    through which you can earn a bonus BUSD at a 2%-5% APY” and “an auto-deposit function, which

    automatically transfers BUSD from your spot wallet to Flexible Savings, making it possible for you to

    earn even if you forget to proactively save,” a “Binance Launchpool” where a user’s “BUSD deposit

    will get you a share of the free tokens from the offerings that launch on the platform and include

    BUSD in their yield options,” and “DeFi staking offerings” that “can give you around 20%-30%

    APY.”

            c.      Other Tokens Offered on Binance Platforms

            142.    In addition to BNB and BUSD, other tokens like SOL, ADA, MATIC, FIL, ATOM,

    SAND, MANA, ALGO, AXS, and COTI were actively offered, sold, and traded on both Binance

    platforms.

            143.    These tokens are offered and sold as investment contracts and, therefore, as securities.

            144.    Consumers purchase the token expecting their value to increase. Any increase in the

    value of these tokens is contingent on further investment and promotion by others. These tokens,

    therefore, are “securities” under the Howey test.


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            145.     Investors reasonably expected to derive profits from these crypto-related securities—

    which were offered for purchase or sale through Binance—through the increase in the tokens’ value

    based on the efforts of others, including the promotors, sponsors, inventors, issuers, and/or other

    third parties that provide essential managerial efforts that affected the success and value of the

    securities. The market for, and price of, these tokens also depended on efforts and determinations of

    third parties about how or where the tokens could be traded, how to deploy funds raised from initial

    sales/offerings of tokens, and other judgments that directly impact the value of the tokens. These are

    classic securities.

            d.       Binance’s BNB Vault and Simple Earn Programs

            146.     The BNB Vault and Simple Earn programs were other securities offered on the

    Binance.com platform.

            147.     Binance has regularly marketed the Simple Earn and BNB Vault programs as profit-

    making opportunities to investors in the United States and elsewhere.

            148.     With Simple Earn, investors would earn interest for lending their crypto assets to

    Binance.com for fixed or flexible lengths of time. The interest paid depends on the crypto asset lent

    and the duration of the loan. For instance, investors who lent a particular crypto asset through Simple

    Earn as of April 24, 2023 were promised profits of 18.9%.

            149.     Binance.com determines the Simple Earn rate for each of its offerings at its discretion,

    taking into account various “factors which are carefully designed to ensure that rewards paid to users

    are sustainable and competitive.”

            150.     According to Binance, it may pool assets loaned through Simple Earn and use its

    managerial expertise to deploy them “for a variety of purposes,” including on-chain staking, loans, or

    for operational purposes by other Binance business units.




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           151.    Throughout the spring of 2020, Binance tweeted that it was offering a 15% APR for

    participants in the BUSD-specific Simple Earn product, and 10% in the Simple Earn product for

    another crypto asset.

           152.    With BNB Vault, investors can lend their BNB to Binance.com to earn investment

    returns. This program was described on Binance.com as a “BNB yield aggregator.”

           153.    In November 2020, Binance announced the BNB Vault launch: “#Binance Launches

    BNB Vault – Earn Daily Income from the $BNB Ecosystem.”

           154.    Binance.com states on its website that BNB “deposited” in BNB Vault will be “flexibly

    allocated in different products to help users maximize potential rewards.” These products include

    Simple Earn and the staking program Launchpool. Like Simple Earn, Binance has offered varying

    APR returns for BNB Vault investors.

           155.    One tweet from Binance touted the profit potential of BNB Vault: “Just one click can

    increase how much you earn with your #BNB. BNB Vault combines the multiple income benefits of

    #Binance Smart Chain, Launchpool, Savings, #DeFi Staking, and more through just one interface.”

    A second tweet linked to a Binance.com page with a heading “Introducing BNB Vault: One-Click

    Earning for Your BNB Holdings.”

           156.    In both the Simple Earn and BNB Vault programs, Binance pools the crypto assets

    lent by investors and uses those assets to generate revenue that was used to pay returns to investors

    in Simple Earn and BNB Vault. Investors share pro rata the benefits of their pooled investments in

    the Simple Earn and BNB Vault programs.

           157.    Binance exercises discretion and uses its entrepreneurial expertise in managing both

    programs, including identifying liquidity needs, negotiating with Launchpool issuers, choosing terms,

    holding and controlling the invested assets, and generating revenue, through its operation of the

    Binance.com platform to pay the Simple Earn and BNB Vault investors. Binance intended investors


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    to believe that their investments in these crypto-related securities would achieve value from the efforts

    of others, including the Binance entities that provided essential managerial efforts that affected the

    success of the investments.

            158.    From October 2019 through October 2022, at least 3,200 and as many as 16,500 U.S.

    investors have participated in the Simple Earn investment programs, and at least 1,400 U.S. investors

    have participated in the BNB Vault program.

            159.    Since the inception of each, Simple Earn and BNB Vault have been offered and sold

    on the Binance.com platform as investment contracts and, therefore, as securities.

            e.      Binance.US’s Staking Program

            160.    In or around February 2020, investors were able to participate in the Binance.US

    Staking Program. Binance marketed the program to the public as a way to earn “passive income”

    through the efforts of Binance. While, in theory, any individual can seek profit through their own

    staking efforts, the Binance.US Staking Program was promised as a superior and much easier way to

    obtain staking rewards by, among other things, pooling the crypto assets of a large number of

    investors.

            161.    Binance.US’s Staking Program capitalizes on the reward structure of the “Proof of

    Stake” consensus mechanism used by some blockchains to reach agreement about which transactions

    are valid, to update the blockchain accordingly, and to reward participants with additional crypto

    assets. A blockchain using the Proof of Stake consensus mechanism selects a “validator” from a pool

    of node operators who have agreed to certain requirements necessary to maintain the blockchain and

    construct new blocks.

            162.    To be considered for selection into the pool, a potential validator must commit, or

    “stake,” a set amount of the blockchain’s native asset. These staked assets are held as collateral in the

    protocol to incentivize validators to perform required functions. A “correction penalty” is deducted,


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    or “slashed,” from the staked assets of validators who underperform. Conversely, validators earn

    rewards in the form of additional amounts of the native asset by timely voting on proposed blocks,

    proposing new blocks, and participating in related consensus activities.

            163.    To create a new block, the protocol chooses a validator from among those that have

    staked. The more one stakes, the more likely one is to be selected as a validator and receive the

    maximum staking reward. The most successful staking operations maximize the chances of being

    selected by staking a large number of assets and minimizing server downtime.

            164.    Individuals can stake assets on their own, but this requires considerable technical

    know-how. Accordingly, Binance.US markets its Staking Program as a way for investors to rely on

    and profit from Binance.US’s technical expertise and knowhow, industry relationships, and

    infrastructure to reap the benefits of staking as a passive investment opportunity. Binance.US also

    touts the advantages its staking programs offer over staking independently. These advantages include

    instant reward accrual, shorter holding periods, low (or no) upfront deposits or staking minimums,

    compensation for slashing penalties, regularly scheduled payouts at certain rates, and an easy-to-use

    interface that requires “just a few clicks” to reap passive income.

            165.    As Binance.US explains on its website:

                    Independent cryptocurrency staking can be a daunting process for most individuals.
                    In addition to meeting hardware requirements that may vary from asset to asset, users
                    may also need to install and run their own nodes. That’s where Binance.US Staking
                    comes in. With a user-friendly interface and industry-leading uptime across nodes,
                    Staking is the destination of choice for customers looking to earn rewards on their
                    assets.

            166.    Binance.US publishes on its website the list of staking-eligible crypto assets (which has

    changed over time), and the annualized percentage yield (or reward rate) offered to investors with

    respect to each asset. The web-based interface and mobile app for the Binance.US platform also allows

    users to designate the tokens that they want to stake in the program.



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            167.      The Staking Program’s terms have evolved over time, but Binance.US’s marketing has

    consistently focused on the competitive yield it offers, touting a wide range of assets that users can

    earn profits by staking. Users are also told that the stated APY is purportedly calculated based on

    factors such as “Network conditions,” “Staking configuration,” and “Supply and demand.”

    Binance.US’s “Terms of Use” further state that the quoted APY “is an estimate only and not

    guaranteed,” and is determined (and may change) in BAM’s “sole and absolute discretion.”

    Binance.US also states that it will deduct a commission from the returns that Binance.US earns on

    staking, before paying investors. Binance.US determines how and when investors’ tokens will be

    staked, and how and when rewards, if any, will be distributed.

            168.      Binance.US also markets its Staking Program as a way to avoid minimum staking

    requirements imposed under certain blockchain protocols and to maintain liquidity. For example,

    Binance.US notes that individual investors who wish to independently stake on the Ethereum 2.0

    Proof of Stake consensus would need a minimum of 32 ETH (nearly $60,000 at recent values) and

    agree to long lock-up periods to become a validator. By pooling investor assets to launch Binance-

    controlled validators, Binance.US allows investors to participate with a minimum of just 0.0001 ETH

    (less than $2).

            169.      Binance.US has engaged in the unregistered offer and sale of its Staking Program as

    an investment contract, and thus, as a security.

            170.      Participation in Binance.US’s Staking Program requires the investment of money in

    the form of crypto assets. Investors risk loss if Binance.US fails to perform as a validator, is assessed

    slashing penalties for which it cannot make investors whole, or if assets are otherwise lost if

    Binance.US fails to detect or manage hacking and other risks as it is executing its staking strategy, over

    which Binance.US retains absolute discretion. Investors also face risk of loss if the staked crypto assets




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    significantly decrease in market value while staked because Binance.US will not allow users to sell or

    withdraw crypto assets while they are staked.

            171.    For each staking-eligible crypto asset that is a part of the Staking Program, Binance.US,

    directly or through affiliates or other third parties, pools investor assets in a common “staking pool”

    in which investors “combine their staking power and share the rewards proportionally to their

    contributions to the pool.” Moreover, for as long as the investors choose to stake their tokens,

    investors receive payouts from Binance.US that are distributed to them pro rata. In addition, the larger

    the pool of assets for staking for each particular staking-eligible crypto asset, the higher the likelihood

    of obtaining rewards, which inures to the benefit of all investors in that particular asset, as well as

    Binance.US, such as, for example, in the form of fees from the Staking Program. Binance.US does not

    segregate or separately manage any crypto assets that ostensibly belong to any particular investor’s

    account as part of the Staking Program. Instead, all assets of the same type tendered into the Staking

    Program are pooled together.

            172.    Finally, as alleged above, Binance has consistently promoted the Binance.US Staking

    Program in a way that fuels reasonable expectations of profits from Binance and Binance.US’s efforts.

    Binance marketed the program as an investment to “earn” payouts or “yield” and claimed it would

    work to provide immediate, reliable, and predictable profitability on that investment. Investors in the

    Staking Program rely on Binance and Binance.US’s pooling of the invested tokens and efforts in

    successfully validating transaction blocks on the relevant blockchains.

            173.    Binance intended investors to believe that their investments in this program would

    achieve and maintain value from the efforts of others, including the Binance entities that provided

    essential managerial efforts that affect the success of the investments.




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            f.      Other Binance Entities

            174.    Binance Services and Binance IE were part of the Binance network of companies that

    helped run and facilitate the Binance platforms. They played an integral role in offering, selling, and

    promoting unregistered securities to the masses.

      VI. Targeting U.S. Customers

            175.    Binance purposefully grew, maintained, and simultaneously concealed its U.S.

    customer base while also failing to implement an effective AML program that is required of financial

    institutions to detect and prevent terrorist financing or other criminal activity, among other things.

    One component of this failure to implement an effective AML program is Binance’s ongoing lack of

    effective KYC procedures or a Customer Identification Program (“CIP”) that would enable it to

    identify its customers, whether from the United States or elsewhere. Further, as of at least May 2022,

    Binance had not filed a single suspicious activity report (“SAR”) in the United States despite having

    filed such reports in other jurisdictions.

            176.    For approximately the first two years of its operations, Binance did not take any steps

    to limit or restrict the ability of U.S. customers to trade on the platform, with an estimated 1.47 million

    U.S.-based investors on the international platform through KYC verification.

            a. Binance Concocts a Plan to Solicit U.S. Customers While Avoiding U.S. Regulation

            177.    To avoid the application of U.S. law, Binance set up a façade, purporting to segregate

    U.S. customers into a separate entity with strict compliance measures in place, while simultaneously

    knowing and actively facilitating U.S. customers’ unregulated use of the main Binance.com

    international platform, putting the safety of billions of dollars of U.S. investor assets at risk.

            178.    Beginning no later than July 2019 and continuing through the present, Binance, under

    Zhao’s direction and control and with Lim’s willful and substantial assistance, has solicited and

    accepted orders, accepted property to margin, and operated a facility for the trading of futures,



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    options, swaps, and leveraged retail commodity transactions involving digital assets that are

    commodities including bitcoin (BTC), ether (ETH), and litecoin (LTC) for persons in the United

    States.

              179.   Forbes first broke the story on October 29, 2020, writing:

                     The 2018 document details plans for a yet-unnamed U.S. company dubbed the “Tai
                     Chi entity,” in an allusion to the Chinese martial art whose approach is built around
                     the principle of “yield and overcome,” or using an opponent’s own weight against him.
                     While Binance appears to have gone out of its way to submit to U.S. regulations by
                     establishing a compliant subsidiary, Binance.US, an ulterior motive is now apparent.
                     Unlike its creator Binance, Binance.US, which is open to American investors, does not
                     allow highly leveraged crypto-derivatives trading, which is regulated in the U.S.

                     The leaked Tai Chi document, a slideshow believed to have been seen by senior
                     Binance executives, is a strategic plan to execute a bait and switch. While the then-
                     unnamed entity set up operations in the United States to distract regulators with
                     feigned interest in compliance, measures would be put in place to move revenue in the
                     form of licensing fees and more to the parent company, Binance. All the while,
                     potential customers would be taught how to evade geographic restrictions while
                     technological work-arounds were put in place.

              180.   Binance.US is in fact everything that the article alleged – a shell set up to feign

    compliance with U.S. laws and distract from reality.

              181.   Zhao, Lim, and other members of Binance’s senior management have failed to

    properly supervise Binance’s activities and, indeed, have actively facilitated violations of U.S. law,

    including by assisting and instructing customers located in the United States to evade the compliance

    controls Binance purported to implement to prevent and detect violations of U.S. law. Binance and

    its officers, employees, and agents have instructed U.S. customers to use virtual private networks

    (“VPNs”) to obscure their location; allowed customers that had not submitted proof of their identity

    and location to continue to trade on the platform long after announcing such conduct was prohibited;

    and directed VIP customers with ultimate beneficial owners, key employees who control trading

    decisions, trading algorithms, and other assets all located in the United States to open Binance.com

    accounts under the name of newly incorporated shell companies to evade Binance’s compliance


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    controls. As Binance.com’s CCO explained, “[o]n the surface we cannot be seen to have US users[,]

    but in reality, we should get them through other creative means.”

        b. Binance Begins to Erect Barriers to U.S. Residents That It Knows Will Be Ineffective

            182.    Even after Binance began to purportedly restrict access to the Binance.com platform

    from certain jurisdictions in mid-2019, it left open a loophole for customers to sign up, deposit assets,

    trade, and make withdrawals without submitting to any KYC procedures as long as the customer

    withdrew less than the value of two BTC in one day. Binance has referred to this loophole by various

    labels, including “email registration,” and “tier 1” customers. The two BTC withdrawal limit was

    effectively meaningless—the notional value of two BTC in July 2019 was more than $22,000 and in

    March 2021 was more than $100,000.

            183.    Even before Binance made any attempts to restrict access to the Binance.com platform

    by U.S. customers, Lim privately explained to Zhao that the two-BTC loophole would continue to

    allow U.S. customers to access the platform. In February 2019, Lim chatted to Zhao: “a huge number”

    of Binance’s “TIER 1 [meaning customers trading via the two-BTC loophole] could be U.S. citizens

    in reality. They have to get smarter and VPN through non-U.S. IP.” And Zhao stated during a

    management meeting in June 2019 that the “under 2 BTC users is [sic] a very large portion of our

    volume, so we don’t want to lose that,” although he also understood that due to “very clear

    precedents,” Binance’s policy of allowing “those two BTCs without KYC, this is definitely not

    possible in the United States.”

            184.    In February 2019, Zhao and Binance orchestrated the development of two U.S.

    corporate entities: BAM Management and Binance.US. Zhao, from the beginning, has been a

    beneficial owner of BAM Management, directly or indirectly owning between 81% and 100% of its

    equity. Binance.US is a subsidiary of BAM Management which operates the Binance.US platform.




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            185.    In June 2019, Binance announced a “partnership” with Binance.US to launch the

    Binance.US platform to insulate Binance from past and future liability related to U.S. oversight bodies

    by having a domestic entity that ostensibly was “regulatory compliant.” Zhao provided $500,000 in

    funding for Binance.US with subsequent cash infusions, including through Merit Peak. As of July

    2020, Zhao had contributed $16 million to finance the new U.S. platform.

            186.    Around the same time as the launch of Binance.US in June 2019, Binance.com updated

    its Terms of Use to state for the first time that “Binance is unable to provide services to any U.S.

    person.” Binance also announced that “[a]fter 90 days, effective on 2019/09/12, users who are not in

    accordance with Binance.com’s Terms of Use will continue to have access to their wallets and funds,

    but will no longer be able to trade or deposit on Binance.com.” Binance was careful not to explicitly

    link the purported banning of U.S. investors on the international platform with the inception of the

    new domestic platform. In the wake of the two announcements, internal Binance.com guidelines

    advised employees that “[o]n the US launch, it is important to NOT link it to the .COM IP blocking

    [of U.S. investors]. That would suggest both that Binance is aware of previous violation and that BAM

    and .COM are alter egos of each other coordinating the work.”

            187.    In September 2019, Binance claimed it had begun to geographically block customers

    based on their internet protocol (“IP”) address. In reality, Binance.com simply added a pop-up

    window on its website that appeared when customers attempted to log in from an IP address

    associated with the United States. The pop-up did not block customers from logging in to their

    account, depositing assets, or trading on the platform, it just asked them to self-certify that they were

    not a U.S. person before accessing the platform by clicking a button on the pop-up.

            188.    Notwithstanding the pop-up compliance control, Binance knew that U.S. customers

    continued to comprise a substantial proportion of Binance’s customer base even after September 2019

    because, among other reasons, Binance’s internal reporting told them so. According to periodic


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    revenue reports prepared for and sent to Zhao every month, as of January 2020 approximately 19.9%

    of Binance.com’s customers were located in the U.S., and as of June 2020—about a year after

    Binance.com amended its Terms of Use as alleged above—approximately 17.8% of Binance.com’s

    customers were located in the U.S.

           189.    In keeping with Binance and Zhao’s ethos of prioritizing profits over legal compliance,

    they knowingly allowed the two BTC loophole to persist. In an October 2020 chat between Lim and

    a Binance colleague, Lim explained:

                   [Because you attended a telephone conference on which Zhao participated] then you
                   will also know that as a company, we are probably not going to remove no kyc (email
                   registration) because its too painful . . . i think cz understands that there is risk in doing
                   so, but I believe this is something which concerns our firm and its survivability. If
                   Binance forces mandatory KYC, then [competing digital asset exchanges] will be
                   VERY VERY happy.

           190.    Binance senior management, including Zhao, continued to be aware of and discuss

    the two BTC loophole. For example, in a March 2021 Signal message group that included multiple

    senior managers, Zhao asked: “Who was in the 2BTC limit meeting last time?”

           191.    And on August 20, 2021, Binance announced that “all Binance users are required to

    verify their accounts,” meaning that all new customers would be required to complete “Intermediate

    Verification” and provide a government issued identification evidencing their geographic location.

    Binance also announced that existing customers that had not yet completed Intermediate Verification

    would have their account changed to “withdrawal only” status by October 19, 2021. Binance did not

    limit the ability of unverified customers to deposit funds and trade on the Binance.com platform by

    October 19, 2021 as represented. In February 2022, Binance testified that the identities of

    approximately only 30–40% of Binance.com customers had been verified though KYC

    documentation.

           192.    Binance has been aware that its compliance controls have been ineffective. As Lim—

    at the time Binance.com’s CCO—recognized in an October 2020 chat with other compliance

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    personnel, Binance.com’s compliance environment has amounted to “email sending and no action . .

    . for media pickup . . . I guess you can say its ‘fo sho.’”

            193.    Zhao’s strategy of refusing to implement effective compliance controls was widely

    known within Binance. In a January 2019 chat between Lim and a senior member of the compliance

    team discussing their plan to “clean up” the presence of U.S. customers on the Binance.com platform,

    Lim explained: “Cz doesn’t wanna do us kyc on .com.” In June 2019, Lim acknowledged the necessity

    to engage in “the international circumvention of KYC,” and reiterated in February 2020 that Binance

    had a financial incentive to avoid subjecting customers to meaningful KYC procedures, as Zhao

    believed that if Binance’s compliance controls were “too stringent” then “[n]o users will come.”

            194.    Despite their awareness of Binance’s compliance failures, Zhao, Lim, and others acting

    on behalf of Binance publicly represented that Binance.com platform had effective compliance

    controls. For example, in an August 14, 2019, letter sent on Binance.com letterhead, Lim assured a

    state financial regulator in the United States that:

                    [O]ur [compliance] program provides for AML/CFT controls to ensure the safe and
                    legitimate use of our platforms Binance screens all its customers prior to the
                    establishment of a business relations or undertaking a transaction against OFAC, EU,
                    UK and Hong Kong sanctions Binance performs customer due diligence (CDD)
                    anytime the company establishes a customer relationship with all customers engaged
                    in crypto-fiat activity, where there is suspicion of money laundering or terrorism
                    financing . . . .

            195.    Four months later, in an internal December 2019 message to a colleague, Lim admitted

    that “.com doesn’t even do AML namescreening/sanctions screening.”

            196.    Binance also intentionally tried to hide the scope of its compliance program’s

    ineffectiveness from its business partners. For example, in or around October 2020, Binance

    underwent a compliance audit to satisfy a request from Paxos. But according to Lim, Binance

    purposely engaged a compliance auditor that would “just do a half assed individual sub audit on

    geo[fencing]” to “buy us more time.” As part of this audit, the Binance.com employee who held the


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    title of Money Laundering Reporting Officer (“MLRO”) lamented that she “need[ed] to write a fake

    annual MLRO report to Binance board of directors wtf.” Lim, who was aware that Binance did not

    have a board of directors, nevertheless assured her, “yea its fine I can get mgmt. to sign” off on the

    fake report. Around the same time as the referenced “half assed” compliance audit, in November 2020

    the MLRO exclaimed to Lim in a chat, “I HAZ NO CONFIDENCE IN OUR GEOFENCING.”

            197.    Internally, Binance officers, employees, and agents have acknowledged that the

    Binance.com platform has facilitated potentially illegal activities. For example, in February 2019, after

    receiving information “regarding HAMAS transactions” on Binance, Lim explained to a colleague that

    terrorists usually send “small sums” as “large sums constitute money laundering.” Lim’s colleague

    replied: “can barely buy an AK47 with 600 bucks.” And with regard to certain Binance customers,

    including customers from Russia, Lim acknowledged in a February 2020 chat: “Like come on. They

    are here for crime.” Binance’s MLRO agreed that “we see the bad, but we close 2 eyes.”

            198.    Lim’s internal discussions with compliance colleagues illustrate that Binance has

    tolerated customers’ use of the Binance.com platform to facilitate “illicit activity.” For example, in July

    2020, a Binance.com employee wrote to Lim and another colleague asking if a customer whose recent

    transactions “were very closely associated with illicit activity” and “over 5m USD worth of his

    transactions were indirectly sourced from questionable services” should be off-boarded or if it was in

    the class of cases “where we would want to advise the user that they can make a new account.” Lim

    chatted in response:

                    Can let him know to be careful with his flow of funds, especially from darknet like
                    hydra
                    He can come back with a new account
                    But this current one has to go, it’s tainted

            199.    Lim’s instruction to allow a customer “very closely associated with illicit activity” to

    open a new account and continue trading on the platform is consistent with Zhao’s business strategy,




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    which has counseled against off-boarding customers even if they presented regulatory risk. For

    example, in a September 2020 chat Lim explained to Binance employees that they

                   Don’t need to be so strict.
                   Offboarding = bad in cz’s eyes.

            200.   Binance’s corporate communications strategy has attempted to publicly portray that

    Binance has not targeted the United States at the same time Binance executives acknowledge behind

    closed doors that the opposite is true. For example, on June 9, 2019, around the time Zhao and

    Binance hatched their secret plot to retain U.S. customers even after the launch of Binance.US,

    Binance.com’s Chief Financial Officer stated during a meeting with senior management including

    Zhao:

                   [S]ort of, the messaging, I think would develop it as we go along is rather than saying
                   we’re blocking the US, is that we’re preparing to launch Binance US. So, we would
                   never admit it publicly or privately anywhere that we serve U.S. customers in the first
                   place because we don’t. So, it just so happens we have a website and people sign up
                   and we have no control over [access by U.S. customers]. [B]ut we will never admit that
                   we openly serve U.S. clients. That’s why the PR messaging piece is very, very critical

            201.   Zhao agreed that Binance’s “PR messaging” was critical, explaining in a meeting the

    next day that “we need to, we need to finesse the message a little bit And the message is never about

    Binance blocking U.S. users, because our public stance is we never had any U.S. users. So, we never

    targeted the U.S. We never had U.S. users.” But during the June 9, 2019 meeting, Zhao himself stated

    that “20% to 30% of our traffic comes from the US,” and Binance.com’s “July [2019 Financial]

    Reporting Package,” which was emailed directly to Zhao, attributes approximately 22% of

    Binance.com’s revenue for June 2019 to U.S. customers.

       c. Binance Knowingly Ignored United States Regulatory Requirements

            202.   Defendants have been aware of the regulatory regime that applies to U.S. financial

    institutions such as FCMs, and exchanges such as DCMs and SEFs, but have made deliberate, strategic

    decisions to evade federal law.



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           203.    Internal messages among Zhao, Lim, and other Binance senior managers document

    that Binance was aware of the applicability of U.S. regulatory and legal requirements since its early

    days. For example, in October 2018, Lim wrote to Zhao:

                   Cz I know it’s a pain in the ass but its my duty to constantly remind you
                   1. We have made no mention of sanctions/or support of sanctions on our platform
                   already (done, cleaned up)
                   2. Are we going to proceed to block sanction countries ip addresses (we currently
                   have users from sanction countries on .com)
                   Or do you want to adopt a clearer strategy after we engaged and finalised our USA
                   strategy?
                   Downside risk is if fincen or ofac has concrete evidence we have sanction users, they
                   might try to investigate or blow it up big on worldstage

           204.    Two months later, in a December 2018 chat, Lim acknowledged that Binance was

    operating “in the USA” and advised his colleagues that “there is no fking way in hell I am signing off

    as the cco for the ofac shit.” In that same chat, Lim recognized that Binance’s customer support was

    “teaching ppl how to circumvent sanctions.” And Lim stated in an October 2019 chat: “the ofac

    regulation clearly states U.S. persons, doing biz with OFAC is wrong,” but clarified that Zhao desired

    to place competitive advantage over compliance: “thing is [Zhao] will only agree to block U.S. on .com

    once U.S. exchange has gotten all [money transmitter licenses] (to match [a U.S. -based digital asset

    exchange]).”

           205.    In December 2019, approximately three months after Binance began offering quarterly

    futures and perpetual contracts, Lim wrote to a colleague in a chat:

                   1. We still have U.S. users on our platform (regulatory risk) 2. We do not perform
                   Worldcheck on .com (sanctions risk) 3. We do not perform [transaction monitoring]
                   on .com (sanctions risk).

           206.    Lim has displayed a nuanced understanding of applicable regulatory requirements and

    the potential individual liability that may accompany a failure to comply with U.S. law. For example,

    in October 2020 Lim chatted to a colleague:

                   US users = CFTC = civil case can pay fine and settle
                   no kyc = BSA act [sic] = criminal case have to go [to] jail

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            207.    Zhao has also been keenly aware of U.S. laws that apply to Binance’s activities. For

    example, Zhao explained during a June 9, 2019 management meeting:

                    [T]here are a bunch of laws in the U.S. that prevent Americans from having any kind
                    of transaction with any terrorist, and then in order to achieve that, if you serve U.S. or
                    U.S. sanctioned countries there are about 28 sanctioned countries in the U.S. you
                    would need to submit all relevant documents for review [but that is not] very suitable
                    for our company structure to do so. So, we don’t want to do that and it is very simple
                    if you don’t want to do that: you can’t have American users. Honestly it is not
                    reasonable for the U.S. to do this
                    ....
                    [ U.S. regulators] can’t make a special case for us. We are already doing a lot of things
                    that are obviously not in line with the United States.

            208.    Zhao has kept information reflecting Binance’s U.S. customer base secret even from

    certain senior managers. For example, in a March 2019 discussion regarding the circulation of data

    that categorized Binance users by geographic location, Zhao said “Let me see it first then, and not

    distribute it, especially guys who have to deal with U.S. regulators.” And in an August 2020 chat, Zhao

    instructed a Binance employee that transaction volume data concerning U.S. API customers should

    not be published to a group; rather, such data should be sent only to Zhao.

        d. Binance Has Guided United States Customers to Evade Its Compliance Controls Through
           the Use of VPNs and Other Creative Means

            209.    Binance implemented IP address-based compliance controls that collect a customer’s

    IP address and compare it to the list of countries Binance has purported to “restrict” from the

    Binance.com platform. At least as of September 2019, the list of “restricted” jurisdictions included the

    United States. Nonetheless, Binance’s IP address-based compliance controls, sometimes called

    “geofencing,” have not been effective at preventing customers from “restricted” jurisdictions

    including the United States from accessing and trading on the Binance.com platform.

            210.    One reason Binance’s IP address-based compliance controls have not been effective

    is that Binance has instructed U.S. customers to evade such controls by using VPNs to conceal their

    true location. VPNs have the effect of masking an internet user’s true IP address. VPN use by

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    customers to access and trade on the Binance.com platform has been an open secret, and Binance has

    consistently been aware of and encouraged the use of VPNs by U.S. customers.

            211.    At least as early as April 2019, Binance published a guide on the “Binance Academy”

    section of the Binance.com website titled “A Beginner’s Guide to VPNs.” Binance’s VPN guide

    explained to Binance customers that “[i]f you want to be private about the websites you visit – and

    your location – you should use a VPN.” Binance’s VPN guide also hints: “you might want to use a

    VPN to unlock sites that are restricted in your country.”

            212.    Binance’s senior management, including Zhao, knew the Binance VPN guide was used

    to teach U.S. customers to circumvent Binance’s IP address-based compliance controls. In a March

    2019 chat, Lim explained to his colleagues that “CZ wants people to have a way to know how to vpn

    to use [a Binance functionality] . . . it’s a biz decision.” And in an April 2019 conversation between

    Binance.com’s Chief Financial Officer and Lim regarding Zhao’s reaction to controls that purported

    to block customers attempting to access Binance from U.S. -based IP addresses, Lim said: “We are

    actually pretty explicit about [encouraged VPN use] already – even got a fking guide. Hence CZ is ok

    with blocking even usa.”

            213.    Binance senior management, including Lim, have used other workarounds to indirectly

    instruct Binance customers to evade Binance’s IP address-based compliance controls. For example,

    in a July 8, 2019, conversation regarding customers that ought to have been “restricted” from accessing

    the Binance.com platform, Lim explained to a subordinate: “they can use vpn but we are not supposed

    to tell them that . . . it cannot come from us . . . but we can always inform our friends/third parties to

    post (not under the umbrella of Binance) hahah.”

            214.    Lim continued his crafty efforts to assist Binance customers in circumventing

    Binance’s compliance controls, as documented in a February 12, 2020 exchange. An employee asked

    Lim:


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                    hi Samuel, we are helping [an intermediary] to integrate with us to introduce new users
                    and trade liquidity, but find most of their users are from US. Now Binance.com block
                    U.S. IP from registration. May I ask whether it is still a hard requirement nowadays?

            215.    Lim responded to the employee’s question:

                    Yes, it still is. Because if US users get on .com
                    We become subjected to the following US regulators, fincen ofac and SEC
                    ...
                    But as bests as we can
                    ...
                    We try to ask our US users to use VPN
                    ...
                    or ask them to provide (if there are an entity) non-US documents
                    ...
                    On the surface we cannot be seen to have US users but in reality, we should get them
                    through other creative means

            216.    Binance’s use of creative workarounds to its compliance controls is further

    documented in a July 17, 2020 chat in which Lim clarified to a colleague:

                    No we cannot change their status to non us if they are us
                    Thats fraud
                    But we can encourage them to be a non kyc account Or use a vpn
                    ...
                    Yea can bypass [limitations on non-KYC accounts, such as withdrawal limits], give a
                    little hand that you guys can work something out
                    please be clear we only do this for our biggest traders/VIPs
                    ...
                    this is SPECIAL treatment

            217.    Lim also used Binance.US as a laboratory to identify important U.S. customers that

    could be prioritized for expedited on-boarding to the Binance.com platform. In a July 15, 2020 chat,

    Lim explained to a Binance.com employee that he should first ask a prospective customer “to onboard

    with US, then if their volume is really very big we will push hard on .com to accept it on an exceptional

    basis . . . CZ will definitely agree to this lol.” Lim continued: “but they need to really be doing sick ass

    volumes . . . we always have a way for whales.” Lim reiterated this procedure in a July 27, 2020 chat,

    explaining that “getting on .com” would be “an issue” for a prospective customer with “US beneficial




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    owners” but that the prospective customer could “of course get on Binance U.S. and then if the

    volumes are good, we can find a way to backdoor them to .com.”

           218.    As demonstrated below, Binance apparently enlisted the help of its affiliates and

    promoters, such as Defendant Ben Armstrong, to not only hype the Binance platform and its

    unregistered security offerings, but also separately to hype affiliate links for VPN providers to guide

    their followers to circumvent U.S. regulations and to backdoor them into the international Binance

    exchange.

       e. Binance Has Directed Its VIP Customers to Evade Compliance Controls, Including Through
          Submission of “New” KYC Documents

           219.    In addition to instructing retail customers located in the United States to use VPNs to

    avoid IP address-based compliance controls, Binance has also created special policies and procedures

    to help its VIP customers evade Binance’s compliance controls so Binance could continue to access

    and derive profits from U.S. customers. Binance designed these special policies and procedures to

    help VIP customers evade both IP address-based compliance controls and KYC documentation-

    based compliance controls.

           220.    In February 2019, Lim and Zhao met in person to discuss how to address the

    regulatory risk stemming from Binance’s U.S. customers that access Binance.com via API. These

    customers are generally institutional market participants and include VIPs. In advance of their

    meeting, Lim sent Zhao a numbered list of “Compliance parameters,” including that “US API users

    (identified through IP) will have 2 options. They can remain on main exchange or move over to U.S.

    exchange,” while “US API users (identified through KYC) have to move over to U.S. exchange, they

    don’t have a choice. We will notify them through Email.”

           221.    Right after meeting with Lim, Zhao sent the compliance parameters to other senior

    managers, one of whom replied to Zhao that “[US users, with US, non international KYC] is [where]

    we will get nailed.” The senior manager asked Zhao if Binance had to “enforce” the contemplated

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    block of U.S. API users identified through KYC “in the matching engine? That’s the only way to

    guarantee this doesn’t break. [It] is not a hard thing to enforce in the matching engine.” Zhao replied:

    “let’s worry about enforcement in a later stage, think we may have to do it by users.”

            222.    On June 13, 2019, Binance released a press release that “announced its partnership

    with BAM Trading Services Inc. to begin preparation to launch trading services for users in the United

    States.” While outwardly preparing for the launch of Binance.US, internally, Zhao, Lim, and other key

    Binance personnel remained focused on retaining U.S. VIP customers, and the liquidity and revenue

    they supplied, on Binance.com.

            223.    In and around June 2019, Zhao, Lim, and other key Binance personnel engaged in a

    series of strategy sessions concerning the retention of U.S. VIPs on the Binance.com platform. One

    method discussed was to instruct U.S. VIP customers to submit “new” KYC documentation in

    connection with a “new” account. This approach would allow VIP customers to continue to trade on

    Binance.com and maintain their preferential VIP status and benefits that resulted from their historical

    trading activity on Binance.com. During one meeting that Binance.com recorded, a senior employee

    proposed Binance.com instruct U.S. customers to submit “new” KYC documentation over social

    media—but Lim corrected the employee and mandated that such instructions should only occur in

    secret. In addition, Binance.com’s Chief Marketing Officer reported internally that his team had

    contacted the top 22 U.S. VIP investors and 19 had “already agreed to change KYC, or change their

    IP.”

            224.    Binance’s plan to instruct U.S. VIP customers to submit “new” KYC documentation

    was devised by Zhao. During a June 24, 2019 meeting with senior management, Zhao stated: “We do

    need to let users know that they can change their KYC on Binance.com and continue to use it. But

    the message, the message needs to be finessed very carefully because whatever we send will be public.




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    We cannot be held accountable for it.” In a meeting the next day, a senior VIP team member and

    Zhao engaged in the following colloquy:

                   VIP team member: We don’t tell them explicitly because that’s marketing. But they
                   [referring to U.S. VIP customers] understand . . . they know to send [their digital
                   assets] the blockchain, then that’s their own control. And then so they send it to
                   themselves, but we just help them expedite. As we speed up the account of the
                   corporate account of the BVI or Cayman entity.

                   Zhao: Okay, so is this them creating a new account, but we talked about having them
                   change KYC has that ever been done?

                   ....

                   VIP team member: We quietly mentioned to them that, you know, US, you know, it
                   could be an issue and you know, if they have any offshore entities, maybe they should
                   open another one as well for their offshore entities. That’s how, that’s how we, that’s
                   how we’ve been telling them. We haven’t really sent anything blasting because that’s,
                   that’s sensitive. That’s marketing. I mean, [a U.S. -based compliance consultant] can
                   comment on that.

           225.    Binance personnel began assisting U.S. VIP customers in creating “new” accounts

    using “new” KYC documentation as early as June 2019, and reported directly to Zhao on their efforts.

    For example, in a Binance.com group chat dated June 12, 2019, a Binance.com employee directed the

    following message to “@czhao,” which is a handle used by Zhao:

                   Today our VIP team talked with three VIP8 users, we didn’t talk too much details and
                   they all satisfied that we can help them onboarding their new non-US corporate
                   accounts. That’s a good start, we’ll contact more VIPs tmr.

                   Zhao responded in the same chat: “cool.”

           226.    A March 2020 internal Binance.com presentation subsequently conveyed that 159 U.S.

    VIP investors, making up 70% of all global VIP trading volume, were housed on Binance.com. At

    some point before October 2020, Binance formalized its processes for instructing U.S. VIP customers

    on the best methods to evade Binance’s compliance controls in a corporate policy titled “VIP

    Handling.” Zhao contributed ideas that were incorporated into the VIP Handling policy. Pursuant to

    the VIP Handling policy, once a customer service representative “hands the affected user over to



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    VIP,” the VIP team would “[m]ake sure the user has completed his/her new account creation with

    no U.S. documents allowed.” U.S. VIP customers often followed these instructions by submitting

    “new” KYC documentation associated with a shell company incorporated in a jurisdiction other than

    the United States, such as the British Virgin Islands, to act as the nominee for the “new” account.

            227.    Acting pursuant to the VIP Handling policy, Binance’s VIP team would then

    “coordinate the transfer” of the VIP customer’s “Referral Bonuses, VIP level, Withdrawal Limits etc.”

    to the “new” account from the VIP customer’s pre-existing account. Thus, if the VIP team followed

    the VIP Handing policy correctly, from the customer’s perspective nothing about their trading on

    Binance.com would be disrupted—the “new” account would be the same as the old account with the

    exception of the name of the accountholder.

            228.    Recognizing the evasive nature of the procedures and strategies memorialized in the

    VIP Handling policy, the document required Binance employees to “[m]ake sure to inform user to

    keep this confidential.” In line with the intent to keep any “new account creations” by U.S. VIPs a

    secret, Zhao instructed during his October 13, 2020 “daily call” that any communications about the

    “US ban” should be done over the Signal messaging application. Thereafter, Lim circulated Zhao’s

    directive to a senior compliance staff member in a chat, explaining: “we do all U.S. comms via signal

    as mandated by cz.”

            229.    Binance.com’s VIP Handling policy also established methods for personnel to

    troubleshoot for U.S. customers that were identified as such through their IP address (as opposed to

    KYC documentation). For these customers, Binance instructed its personnel to “[i]nform the user

    that the reason why he/she cant use our www.binance.com is because his/her IP is detected as U.S.

    IP. If user doesn’t get the hint, indicate that IP is the sole reason why he/she can’t use .com” [emphasis

    in original]. Lim flagged a passage in the VIP Handling policy for his colleagues that further explained:

    “We cannot teach users how to circumvent the controls. If they figure it out on their own, its fine.”


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           230.    Displaying the ecosystem’s tone at the top, Zhao helped manage the implementation

    of Binance’s VIP Handling policy. On October 9, 2020, around the time Binance began sending emails

    to U.S. customers pursuant to the policy, Zhao had the following exchange with an employee who

    would ultimately become Binance.com’s head of institutional sales:

                   VIP team member: Hi CZ . . . I went through list of affected API clients, it includes a
                   number of large strategic accounts including [a Chicago-headquartered trading firm]
                   who is currently is a top 5 client and 12% of our volume

                   Zhao: Give them a heads up to ensure they don’t connect from a us Ip. Don’t leave
                   anything in writing. They have non us entities. Let’s also make sure we don’t hit the
                   biggest market makers with that email first. Do you have signal?

           231.    At least until August 2021, over two years after Binance.com updated its Terms of

    Use to “restrict” U.S. customers, Binance.com employees continued to observe customers they had

    previously identified as U.S. VIPs trading on the platform. In an August 14, 2021 chat, members of

    the VIP and Compliance teams discussed the issue:

                   Compliance employee: We have two corporate clients . . . which were detected as U.S.
                   nexus (US UBOs > 50%). Considering they are big clients, our compliance team wants
                   to further check with you if we need to talk with the clients and give them a period
                   before going offboard. Please advise. Thank you.

                   VIP team member 1: we’ve gone through multiple offboarding exercises how is this
                   coming up again?

                   VIP team member 2: I guess because they’re a big client so there were delays here and
                   there previously . . . there are still transactions going on during the month of august
                   hahaha scary indeed.

           232.    Binance’s efforts to hold Binance.com out as “compliant” while at the same time

    taking steps to assist customers in submitting “new” KYC documents has continued. For example,

    on August 5, 2021, Binance posted an announcement to the Binance.com website titled “Updates to

    API Services” that states:

                   To ensure a safe and fair trading environment for all users and remain compliant with
                   the latest industry requirements, Binance is updating its API services to limit new API
                   key creation by accounts that have only completed basic account verification. This
                   update is effective starting 2021-08-09 03:00 (UTC).


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                   For accounts that have not completed intermediate verification, any existing API keys
                   will be changed to “read only” after 2021-08-23 00:00 AM (UTC). Trading functions
                   via relevant API keys will be deactivated. Users can complete intermediate verification
                   to reset API access and resume trading functions.

           233.    But internal documents confirm that Binance was still up to its old tricks as of

    August 5, 2021. In a presentation concerning business operations that occurred during the week of

    August 9 through August 15, 2021, Binance.com personnel noted that they had made progress

    “Follow[ing] up [with high] value users KYC projuect [sic].”

       f. Binance Knowingly Concealed the Presence of United States Customers in Internal
          Documents and Data and Maintains Its Own Presence in the United States

           234.    Since at least 2019, Binance has maintained significant ties to the U.S. financial system

    and economy and has actively solicited customers in the United States through its marketing efforts

    including on numerous social media applications such as Twitter.

           235.    Binance.com has employed at least 60 people in the United States, and that number

    continues to increase. Among these U.S.-based employees are compliance and investigations

    personnel; personnel involved with Binance.com’s private equity arm, known as “Binance Labs”; a

    key employee who managed the business unit that was responsible for Binance.com’s “official crypto

    wallet,” a product Binance has offered called “Trust Wallet”; in-house lawyers; and Binance.com’s

    current “Chief Strategy Officer.”

           236.    Binance has enlisted U.S. residents to act as “Binance Angels” to solicit and interact

    with U.S. customers. Generally, Binance Angels attempt to recruit new customers to Binance, answer

    questions from customers and prospective customers, and test new Binance features. In return,

    Binance Angels receive benefits such as invitations to events and Binance swag.

           237.    From Binance’s early days, Zhao has known that U.S. customers trade on the

    Binance.com platform. Zhao has personally interacted with Binance’s U.S. customers. For example,

    in 2017, and in connection with Binance’s early phase of targeting U.S. customers, Zhao provided


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    instructions to a U.S. resident with respect to an English-language customer support channel over the

    Telegram messaging application.

           238.    Later, on January 8, 2018, a U.S. trading firm emailed Zhao directly to onboard to

    Binance.com, identified the owner of the company as a U.S. citizen, and provided the company’s

    owner’s U.S. passport and Illinois driver’s license to Zhao.

           239.    Zhao, Lim, and other Binance senior management have known that U.S. customers

    trade on Binance.com and have tracked and monitored their activities for multiple purposes. For

    example, Zhao has received periodic reports concerning the nature and geographic location of

    Binance’s customers as well as the sources of Binance’s revenue. These reports contain information

    about Binance’s U.S. customers and the effectiveness of Binance’s efforts to capture the U.S. market.

           240.    An example of a periodic report that contains information about Binance.com’s

    sources of revenue is titled August [2019] Financial Reporting Package. The August Financial

    Reporting Package breaks down Binance.com’s trading revenue by base asset (with BTC-related

    transactions comprising 44% of Binance.com’s revenue for that month), and trading volume, among

    other metrics. One slide on the August Financial Reporting Package is titled “Trading Revenue by

    Country” and displays Binance.com’s focus on the geographic sources of its revenue, including the

    16% for that month (and 19% for July 2019) attributed to customers located in the U.S.

           241.    Zhao wanted U.S. customers, including VIP customers, to transact on Binance.com

    because it was profitable to retain those customers. Binance has tracked the sources of Binance.com

    revenues by customers’ geographic location, among other analytical methods. Zhao routinely received

    reporting that unambiguously demonstrated that U.S. customers contributed a substantial amount of

    Binance.com’s revenues. While Binance.com originally expressly tracked revenues derived from U.S.

    customers and summarized that information in the Binance.com monthly revenue reports, after the

    CFTC sued Binance rival BitMEX in October 2020 for illegally selling derivatives to U.S. investors


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    and AML violations, Binance.com changed its internal reports to call U.S. customers “UNKWN,”

    which was thereafter in fact known internally at Binance.com to refer to customers in the United

    States.

              242.   Binance officers, employees, and agents have interacted with U.S.-based institutional

    customers at Binance-hosted networking and social events in the United States at various times,

    including an April 2022 party in Las Vegas to which Binance invited its “largest accounts” such as

    “top heavy weights of hfts, prime brokerage, [and] vcs,” and a networking event in Austin, Texas.

    Binance and Zhao have also participated in numerous digital asset industry conferences in the United

    States.

              243.   Binance has procured professional services from U.S.-based law firms, compliance

    consultants, and other vendors concerning various aspects of its business operations. For example,

    Binance relies on the Google suite of products for information management and email services.

    Binance uses Webex for its internal messaging functionality. Binance leases office space from WeWork

    that it makes available to its U.S.-based employees and other personnel. Binance has entered into long

    term contracts with Amazon Web Services, a United States company headquartered in Washington.

    Among the services Binance purchases from Amazon Web Services that are provided to Binance in

    the United States is “AWS CloudFront,” which according to Amazon Web Services is a “Global

    content delivery network.” Zhao has paid for certain of Binance’s Amazon Web Services accounts

    using his personal credit card.

              244.   Binance avails itself of the U.S. legal system to seek protection for its intellectual

    property. For example, Binance filed trademark applications for “Binance”; “Binance Chain”; and

    “Binance DEX” with the assistance of U.S. attorneys. These U.S. trademarks remain active.

              245.   In 2019, Zhao and Binance.US launched the Binance.US platform, a digital asset spot

    market trading platform that offers its services to U.S. customers. When he hired Binance.US’s first


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    CEO, Zhao described Binance.com as a pirate ship and explained that he wished for Binance.US to

    be a navy boat. The Binance.com CCO also revealed, “[W]e ask [U.S. investors] to onboard with US,

    and then if their volume is really very big . . . we will push hard on .com side to accept it on an

    exceptional basis . . . we always have a way for whales . . . either we do it, or [a competitor crypto

    trading platform] does it.”

            246.    Binance.US is under covert common ownership and control with Binance and Zhao,

    as the entity continues to operate the Binance.US spot platform. Binance personnel, including Zhao,

    have dictated Binance.US’s corporate strategy, launch, and early operations, including initially

    managing customer access, arranging currency services with U.S. banks, forcing the platform to sell

    BNB, and developing the platform’s trade clearing and settlement functions. At Zhao’s direction,

    Binance.US’s marketing and branding has mirrored that of Binance.com. Binance.US has licensed

    Binance’s trademarks to advertise in the United States. Binance.US has also relied on one of

    Binance.com’s matching engines through a software licensing agreement.

            247.    Although Binance and Zhao claim that Binance.US was created as a separate,

    independent trading platform, both have continued to, directly or indirectly, control the minutiae of

    Binance.US’s operations, such as routine business expenditures and decisions. At least through 2021,

    Binance held and controlled Binance.US’s data offshore without giving Binance.US material access.

    Through 2023, Binance maintains direct authority over Binance.US’s bank accounts and uses them

    without Binance.US’s consent. In June 2020, Binance.com’s finance team had upped internal transfers

    to Binance.US’s bank accounts from $10 million per day to $1.5 billion per day without the former

    Binance.US CEO’s knowledge due to her lack of appropriate account access or ability to verify the

    transfers without asking Binance. In December 2020, Binance.com transferred $17 million from

    Binance.US’s bank accounts to Merit Peak without the CEO’s knowledge or approval.




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           248.    While operating within the United States, Binance.US also significantly failed to satisfy

    basic safeguards for U.S. securities exchanges such as procedures designed to prevent fraud and

    manipulation. At least through December 2022, Binance.US employees had little to no oversight of

    Binance’s custody of Binance.US’ crypto assets, giving Zhao and Binance free reign over $1.77 billion

    dollars of U.S. investors’ assets and the employees no ability to ensure the platform was fully

    collateralized. In addition, with weak to non-existent monitoring, and, specifically, no trade

    surveillance mechanisms utilized until at least February 2022, Binance.US did not protect its users

    against manipulative trading practices. Moreover, Binance.US made untrue statements of material fact

    about monitoring and trade volumes to Binance.US customers and equity investors. For example, in

    a 2021 pitch deck, Binance.US assured equity investors that numerous supposed vendors “ensur[ed]

    the [platform’s] highest level of compliance,” despite being aware that Sigma Chain, operated by

    Binance employees, freely engaged in extensive “wash trading” that artificially inflated the trading

    volume of the platform. This consistent misrepresentation of monitoring and trade volumes impacted

    investors’ judgment when evaluating investment instruments, allocating risk exposure, deciding

    whether to engage with the Binance.US platform, and gauging overall liquidity and health of the

    platform before an equity investment.

       g. The VIP Program

           249.    Binance refers to its important customers as VIPs. Binance’s VIP customers are often

    institutional market participants. VIP customers are important to Binance because they provide

    liquidity to Binance’s markets and pay Binance a lot of fees. Binance is aware of its VIPs’ identities

    and geographic locations because Binance monitors its sources of transaction volume and fee-based

    revenue as a matter of course in conducting its operations.

           250.    Binance’s VIP program rewards important customers by providing reduced rates for

    transaction fees and white-glove customer service, as well as exceptions to trading rules including


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    order messaging limits. Higher status VIPs also receive preferential access to Binance.com’s matching

    engines, among other benefits. Binance categorizes its VIPs into levels one to nine, with VIP 9 being

    the highest level occupied by the most important Binance customers. A customer’s VIP level is

    determined by, among other things, their 30-day trading volume and BNB holdings. For example, in

    December 2021, a customer could maintain a VIP 9 level by engaging in “futures trading” volume of

    25,000,000,000 (as measured by BUSD) and maintaining a 5,500 BNB balance over a 30-day period.

            251.    Binance has relied on a dedicated team of employees and other agents to provide

    personalized service to its VIP customers. These personnel have been known by various labels

    including the VIP team, Key Account Managers, and institutional sales representatives.

            252.    Another important benefit that Binance has provided its VIP customers is prompt

    notification of any law enforcement inquiry concerning their account. According to a policy titled

    “For management of LE requests for information and funds transfer,” created by Lim based on

    directions from Zhao, Binance.com instructed its VIP team to notify a customer “[A]t point of

    [account] freeze [based on a request from a law enforcement agency] and immediately after the

    unfreeze [which would occur 24 hours after the account freeze]. VIP team is to contact the user

    through all available means (text, phone) to inform him/her that his account has been frozen or

    unfrozen. Do not directly tell the user to run, just tell them their account has been unfrozen and it

    was investigated by XXX. If the user is a big trader, or a smart one, he/she will get the hint.”

            253.    Binance officers, employees, and agents have used numerous messaging applications

    for business communications. In addition to email and internal messaging applications, Binance’s

    personnel have also used at least Telegram, WeChat, and Signal to communicate internally and with

    Binance customers.

            254.    The Signal messaging application allows a user to enable an auto-delete functionality

    to cover their tracks after communicating about inculpatory matters. Zhao and others acting on behalf


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    of Binance have used Signal—with its auto-delete functionality enabled—to engage in business

    communications, even after Binance received document requests from the CFTC and after Binance

    purportedly distributed document preservation notices to its personnel.

            255.      Zhao has communicated over Signal with the auto-delete functionality enabled with

    numerous Binance officers, employees, and agents for widely varying purposes. For example, the

    following Signal text chains or group chats collected from Zhao’s telephone were among those set to

    auto-delete:

            a.     a group chat between Zhao, Binance.com’s then-head of institutional sales, and
                   Binance.com’s head of “Big Data,” which is the operational group responsible for
                   creating and maintaining data and databases including the database that contains
                   customer- and transaction-related information;
            b.     a text chain with a senior member of Binance.com’s VIP team;
            c.     a text chain with a compliance consultant who participated in the creation of the strategy
                   concerning the launch of Binance.US and Binance.com’s attendant efforts to retain U.S.
                   customers;
            d.     a text chain with an accounting employee who participated in the preparation of
                   Binance.com’s monthly revenue reports for Zhao;
            e.     text chains with senior operations personnel; and
            f.     group chats titled “Finance,” “HR,” “Mkt hr,” and “CEO office.”


            256.    Zhao has also instructed Binance officers, employees, and agents to use Signal to

    communicate with U.S. customers. On information and belief, Binance does not have a corporate

    communications policy and continues to use Signal for business communications.

     VII.   Advertising and Promotion

            257.    Because of Zhao’s “biz decision” to target U.S. customers for its main international

    Binance.com platform, Binance’s international marketing efforts were also targeted specifically at the

    United States, and residents of this District.




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            258.      Each Plaintiff and every class member was exposed to the Binance advertising

    campaigns and overarching marketing messaging, which influenced their decisions to invest in the

    unregistered securities offered or sold by Defendants.

            259.      Since the launch of the Binance.com platform in 2017, Binance has taken a calculated,

    phased approach to increase its United States presence despite publicly stating its purported intent to

    “block” or “restrict” customers located in the United States from accessing the Binance.com platform.

    Binance’s initial phase of strategically targeting the United States focused on soliciting retail customers.

    In a later phase, Binance increasingly relied on personnel and vendors in the United States and actively

    cultivated lucrative and commercially important “VIP” customers, including institutional customers,

    located in the United States. All the while, Binance, Zhao, and Lim, the Binance.com former CCO,

    have each known that Binance’s solicitation of customers located in the United States subjected

    Binance to registration and regulatory requirements under U.S. law. But Binance, Zhao, and Lim have

    all chosen to ignore those requirements and undermined Binance’s ineffective compliance program by

    taking steps to help customers evade access controls.

            260.      In a March 2019 chat, Lim explained to his colleagues that “CZ wants people to have

    a way to know how to vpn to use [a Binance functionality] . . . it’s a biz decision.” And in an April

    2019 conversation between Binance.com’s Chief Financial Officer and Lim regarding Zhao’s reaction

    to controls that purported to block customers attempting to access Binance.com from U.S.-based IP

    addresses, Lim said: “We are actually pretty explicit about [encouraged VPN use] already – even got a

    fking guide. Hence CZ is ok with blocking even usa.” Binance’s decision to prioritize commercial

    success over compliance with U.S. law has been, as Lim paraphrased Zhao’s position on the matter, a

    “biz decision.”




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           a.      The Affiliate Program

           261.    Through its Affiliate Program, Binance paid kickbacks of up to 50% of fees to affiliates

    who solicited new users through their personal referral links.




           262.    To join the Affiliate Program and obtain a referral link, advertisers submit an

    application during which Binance screens them using some of the following criteria:




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           263.   The compensation paid to Affiliates includes:




           264.   Commissions are paid into Affiliate’s Binance wallets, and are issued cryptocurrency,

    including BNB.

           265.   Binance offers a Binance Affiliate Rewards Bootcamp for aspiring crypto influencers,

    which also includes sign-up bonuses, BUSD rewards, and extra commissions.




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           266.   To access all seven crypto influencer classes, users must enroll in the exclusivity

    pathway, which obligates them to promote Binance for a three-month period.




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           267.    Affiliate payments were substantial. In October 2019, a Binance Twitter post

    referenced a then-all-time-high affiliate payment of 1146.82 BTC (~$10.5 million USD).




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            b.      Defendant Ben Armstrong

            268.    Ben Armstrong, who goes by “BitBoy Crypto” online, is a Youtuber, podcaster,

    creator of bitboycrypto.com and “crypto enthusiast.”

                    1. Ben Armstrong Partnered with Binance to Promote Its Platform.

            269.    In or around early 2022, Mr. Armstrong became a Binance Affiliate, wherein

    Armstrong earned kickbacks and commissions by promoting Binance, the Binance platforms, and

    soliciting individuals to click through links on his website to register for Binance services.

            270.    Mr. Armstrong promoted Binance across his media platforms and directed his

    followers to Binance platforms through his affiliate link. These promotions emphasize the perks of

    the platforms as well as the discounts available through the link. However, Defendant Armstrong has

    hidden the substantial kickbacks he stood to gain from successful solicitations— referral incentives

    that could last through the lifetime of a customers’ use of Binance platforms.

            271.    The overarching objective of the partnership was for Mr. Armstrong, through a series

    of promotions and media posts, to help Binance successfully solicit or attempt to solicit investors in

    Binance’s crypto-related securities from Florida and nationwide.

            272.    On information and belief, in exchange for his services, Mr. Armstrong received

    substantial kickbacks he stood to gain from successful solicitations— referral incentives that could

    last through the lifetime of a customers’ use of Binance platforms.

                    2. Mr. Armstrong Engaged in a Sustained and Aggressive Promotion and Advertising Campaign
                       for Binance.

            273.    Mr. Armstrong, as he has been exposed for doing numerous times, has also taken to

    hiding his extensive participation in affiliate marketing with Binance. His bitboycrypto.com webpage

    used to contain dozens of links to crypto exchanges and products, but within the last year he has

    wiped the referral page of his website.




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           274.    On or about May 2022, Mr. Armstrong was promoting affiliate links to Binance.com

    and Binance.US, through the domain https://bitboycrypto.com/deals/, encouraging his followers to

    purchase crypto securities through the Binance platforms:




           275.    That same domain as of March 31, 2023 had been scrubbed:




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           276.    Mr. Armstrong still has promotions of Binance on his website. For example, at

    https://bitboycrypto.com/news/most-profitable-large-cap-altcoin-polkadots-new-roadmap/,     he

    describes it as “one of the most trusted exchanges on the market.”




           277.    On another page, https://bitboycrypto.com/news/this-will-determine-bitcoins-

    price-action-veefriends-at-toys-r-us/, he likewise promotes using Binance to buy Bitcoin:




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           278.   He promotes Binance.US on another page, https://bitboycrypto.com/news/bitcoin-

    cant-be-stopped-sega-jumps-into-crypto-gaming/:




           279.   On another page, he promotes Binance as “the best place to buy bitcoin for yourself,”

    https://bitboycrypto.com/news/michael-saylor-buys-more-bitcoin-utahs-vote-for-crypto/.




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            280.    Mr. Armstrong also problematically advertised VPNs like his affiliate link to “VPN

    unlimited” shown below, 8 right next to crypto exchanges like Binance and Binance.US, to help

    Binance further its goal of enabling U.S. investors to trade on the international Binance exchange,

    aiding Binance in its effort to circumvent U.S. regulations. These crypto exchanges are subject to strict

    KYC rules and geofencing customer limitations, which, as explained above, can be bypassed by such

    VPNs.




            281.    On information and belief, Mr. Armstrong made other promotions on his social media

    platforms and his website that have since been removed.

                    3. Mr. Armstrong Had Financial Incentives to Induce Class Members to Invest in Binance and to
                       Trust the Platform.

            282.    Mr. Armstrong had every incentive to be an effective promoter of Binance to continue

    the relationship and continue receiving payment for his services.




    8
     The domain: https://bitboycrypto.com/deals/ on the Wayback Machine as of May 19, 2022 at
    22:45:54.

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            283.    Moreover, the structure of the Binance Affiliate Program increased Mr. Armstrong’s

    immediate and long-term compensation based on the success that Mr. Armstrong had in influencing

    consumers to make investments on the Binance platforms.

                    4. The Promotions Were Deceptive and Unlawful.

            284.    Mr. Armstrong and Binance launched a commercial campaign designed to make

    Binance appear to be the most stable platform for would-be crypto investors. As a regular commenter

    and enthusiast of cryptocurrency, Mr. Armstrong’s promotions implicitly and intentionally

    downplayed that he was shilling and promoting Binance and were designed to appear as unbiased

    opinions.

            285.    Mr. Armstrong made deceptive statements in his promotions, including statements

    like “The best place to buy Polkadot is on Binance, one of the most trusted exchanges on the market,”

    while at the same time benefiting from others’ adoption of the platform.

                    5. Mr. Armstrong Knew or Should Have Known He Was Soliciting or Assisting Binance to Solicit
                       Investments in Unregistered Securities and/or that He Was Aiding and Abetting Binance’s
                       Fraud and/or Conversion.

            286.    Given Mr. Armstrong’s personal/professional relationships in the crypto space, his

    investment experience, including substantial experience with investments in crypto, and resources to

    obtain outside advisors, he knew or should have known of potential concerns about Binance selling

    unregistered crypto securities and/or that he was aiding and abetting Binance’s fraud and/or

    conversion. When Mr. Armstrong engaged in the promotions, the legal risks of promoting

    investments in cryptocurrency trading platforms were well known. Through his social media

    promotions, Mr. Armstrong personally participated in and aided Binance in making the sale of

    unregistered securities.




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                    6. The Promotions Were Directed at Plaintiffs in Florida, and Customers Nationwide.

            287.    Mr. Armstrong’s promotions were published on public social media accounts

    accessible to plaintiffs nationwide, including in Florida.

            288.    Mr. Armstrong has nearly five million followers across platforms and his content is

    widely promoted.

            289.    U.S. customers, including in this District, saw those promotions, clicked on his

    Affiliate links, and registered with Binance as a result.

        c. Traditional Advertisements

            290.    Binance also engaged in traditional advertisements, including on television and in

    social media.

            291.    For example, Defendant Jimmy Butler partnered with Binance to promote the Binance

    platforms through these channels and received substantial payments for doing so. U.S. customers,

    including in customers in Florida, saw those advertisements or promotions prior to signing up with

    Binance.

            d.      Defendant Jimmy Butler

            292.    Jimmy Butler is an American professional basketball player for the NBA’s Miami Heat.

    This multi-time NBA All-Star is one of the most famous players in the league, having led the Heat to

    the NBA Finals twice in the last four years.

                    1. Jimmy Butler Partnered with Binance to Promote Its Platform.

            293.    In or around early 2022, Binance partnered with Mr. Butler to provide Binance with

    spokesperson and marketing services. Those services included posting on social media, promoting his

    Binance exclusive NFT collection, and appearing in commercial advertising, among other activities.




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            294.    The overarching objective of the partnership was for Mr. Butler, through a series of

    promotions and media posts, to help Binance successfully solicit or attempt to solicit investors in

    Binance’s crypto-related securities from Florida and nationwide.

            295.    On information and belief, in exchange for his services, Mr. Butler received a

    substantial total compensation package which likely included compensation in the form of digital

    assets transmitted through the Binance platforms.

                    2. Mr. Butler Engaged in a Sustained and Aggressive Promotion and Advertising Campaign
                       Controlled by Binance.

            296.    On or about February 2, 2022, Binance, in collaboration with Mr. Butler, launched the

    “Trust Yourself” social media campaign. Binance, in its own words, “launched a global consumer

    empowerment campaign that partnered with a group of VIPs, known for their honesty and

    independence, to remind consumers of their financial freedom.” 9 The campaign intended to preempt

    and undercut the Super Bowl advertising campaigns of competitor crypto exchanges like FTX. The

    campaign also promoted the Binance platforms as a safer alternative to Binance competitors.

            297.    In one video advertisement posted to Binance’s Twitter account, on February 2, 2022,

    Mr. Butler warns consumers of the big-name celebrity crypto endorsements they may hear on

    “February 13,” the date of the Super Bowl, and states, “Binance and I are here to tell you, trust yourself

    and of course do your own research.” The irony should not be lost that such statements are being

    made on behalf of a crypto exchange.




    9
     https://www.binance.com/en/blog/community/binance-unites-j-balvin-jimmy-butler-and-
    valentina-shevchenko-to-take-on-big-game-crypto-ads-invites-fans-to-sound-the-cryptocelebalert-
    and-trust-themselves-to-learn-crypto-421499824684903392.

                                                       81
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           298.    On or about February 7, 2022 and February 13, 2022, Mr. Butler continued his Binance

    campaign telling his fans across two different posts to his Twitter page that if they see a celebrity

    crypto endorsement “during the game [the Super Bowl] go to cryptocelebalert.com and sound the

    alarm and while you’re there learn the basics of cryto.” “[V]iewers are encouraged to sound Binance’s

    #CryptoCelebAlert at CryptoCelebAlert.com to claim one of 2,222 POAP NFTs featuring Jimmy


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    Butler. More importantly, they can access an easy-to-read crypto primer to better understand the basics

    of crypto.” 10




               299.   Binance also paid Mr. Butler to appear in an advertisement mocking the celebrity

    endorsements put out by Binance competitors. Mr. Butler lent his celebrity and credibility to the

    Binance platform and promoted the platform to his followers through the social media post. Mr.

    Butler’s NFT tie-ins drove traffic to Binance websites targeting his audience and followers comprised

    of American professional sports fans.




    10
         Id.

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                   3.   Mr. Butler Had Financial Incentives to Induce Class Members to Invest in Binance and to
                        Trust the Platform.

           300.    Mr. Butler had every incentive to be an effective promoter of Binance to continue the

    relationship and continue receiving payment for his services. The more success he had in soliciting

    consumers to open Binance accounts or invest in Binance’s products, the more he stood to gain

    financially. Additionally, because a substantial amount of a major athlete’s overall income is derived

    from promotional activities, demonstrating an ability and reputation as a successful promotor

    translates into financial benefit in the form of future promotional contracts.




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                      4.   The Promotions Were Deceptive and Unlawful.

               301.   Mr. Butler and Binance launched a commercial campaign designed to bring

    cryptocurrency and investing on the Binance platform to the masses.

               302.   Binance and the VIPs like Mr. Butler knew that these advertisements targeted

    consumers unfamiliar with crypto and Binance. Defendant Zhao was quoted in a February 9, 2022

    Binance blog post about the “Trust Yourself” campaign, saying, “Many people are interested in

    blockchain-based products, like crypto, but relatively few know where to start when it comes to

    educating themselves on these new technologies. In addition to product and brand awareness, we

    need to help people understand the basics of crypto and be able to make more informed investment

    decisions.” 11 Mr. Butler’s commercials implicitly and intentionally downplayed that he was promoting

    Binance.

               303.   Mr. Butler made deceptive statements in his promotions, including statements like

    “When it comes to crypto, don’t call me . . . it doesn’t matter what the big names say about crypto,”

    while at the same time promoting free Binance NFTs and promoting Binance as an alternative

    platform for getting started and learning more about crypto using the resources provided by Binance.

                      5.    Mr. Butler Knew or Should Have Known He Was Soliciting or Assisting Binance to Solicit
                           Investments in Unregistered Securities and/or that He Was Aiding and Abetting Binance’s
                           Fraud and/or Conversion.

               304.   Given Mr. Butler’s investment experience and vast resources to obtain outside

    advisors, he knew or should have known of potential concerns about Binance selling unregistered

    crypto securities and/or that he was aiding and abetting Binance’s fraud and/or conversion. When

    Mr. Butler engaged in the promotions, the legal risks of promoting investments in cryptocurrency

    trading platforms were well known. Through his social media promotions, NFT collection, and other




    11
         Id.

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    advertising activities, Mr. Butler personally participated in and aided Binance in making the sale of

    unregistered securities.

                    6.   The Promotions Were Directed at Plaintiffs in Florida, and Customers Nationwide.

            305.    Mr. Butler’s promotions were published on public social media accounts accessible to

    plaintiffs nationwide, including in Florida.

            306.    Mr. Butler plays for a Florida-based team and, moreover, is a nationally known and

    famous professional basketball player, who has considerable influence on basketball fans nationwide

    and has a wide social media following. This influence allowed him to direct his unlawful promotions

    towards plaintiffs in Florida and nationwide.

            307.    By hiring Mr. Butler as spokesperson, promotor, and face of the company, Binance

    was targeting the people of Florida, in particular, with solicitations to invest in Binance’s products.

    While Mr. Butler enjoys significant celebrity across the country (particularly among basketball fans),

    his fame and influence in Florida is exponentially higher and broader due to his association with Miami

    and his legendary status in the minds of many Floridians, as Binance would have known and intended

    when Binance hired him.

    VIII. The SEC’s Consistent Approach to Cryptocurrency

            308.    The SEC’s stance on cryptocurrency has been clear and consistent from the beginning.

            309.    The Securities and Exchange Acts are intended to apply to a broad range of securities.

    As such, the definitions of “security” in Section 2(a)(1) of the Securities Act of 1933 (Securities Act),

    15 U.S. C. 77b(a)(1), and Section 3(a)(10) of the Securities Exchange Act of 1934 (Exchange Act), 15

    U.S. C. 78c(a)(10), include not only conventional securities, such as “stock[s]” and “bond[s],” but also

    the more general term “investment contract.”

            310.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

                    The fundamental purpose undergirding the Securities Acts is “to eliminate serious
                    abuses in a largely unregulated securities market.” United Housing Foundation, Inc. v.

                                                         86
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                      Forman, 421 U.S. 837, 421 U.S. 849 (1975). In defining the scope of the market that
                      it wished to regulate, Congress painted with a broad brush. It recognized the
                      virtually limitless scope of human ingenuity, especially in the creation of
                      “countless and variable schemes devised by those who seek the use of the
                      money of others on the promise of profits,” SEC v. W.J. Howey Co., 328 U.S.
                      293, 328 U.S. 299 (1946), and determined that the best way to achieve its goal of
                      protecting investors was “to define ‘the term “security” in sufficiently broad and
                      general terms so as to include within that definition the many types of instruments that
                      in our commercial world fall within the ordinary concept of a security.’” . . . Congress
                      therefore did not attempt precisely to cabin the scope of the Securities Acts . . . Rather,
                      it enacted a definition of “security” sufficiently broad to encompass virtually any
                      instrument that might be sold as an investment.

    Reves v. Ernst & Young, 494 U.S. 56, 60-61 (1990) (emphasis added).

               311.   Crafted to contemplate not only known securities arrangements at the time, but also

    any prospective instruments created by those who seek the use of others’ money on the promise of

    profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture new

    instruments that share the common characteristics of stocks and bonds. As Supreme Court Justice

    (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

    in Superintendent of Insurance v. Bankers Life and Casualty Co.:

                      We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
                      connection with the purchase or sale of securities, whether the artifices employed
                      involve a garden type variety fraud, or present a unique form of deception. Novel or
                      atypical methods should not provide immunity from the securities laws.

               312.   The Howey Test provides that an investment contract exists if there is an “investment

    of money in a common enterprise with a reasonable expectation of profits to be derived from the

    efforts of others.” 12 The Howey Test is the principal method used by the SEC to determine if a given

    cryptocurrency is a security.

               313.   The SEC has used multiple distribution channels to share its message and concerns

    regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products and



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         Id.


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    services over the past decade. The SEC first made investors aware of the dangers of investing in

    cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor Alert

    on “Ponzi Schemes Using Virtual Currencies.” 13 A year later, the same office issued an Investor Alert

    on “Bitcoin and Other Virtual Currency-Related Investments.” 14

                314.   In 2017, the Commission took the rare step of releasing a Section 21(a) Report of

    Investigation that looked at the facts and circumstances of The DAO, which offered and sold

    approximately 1.15 billion DAO Tokens in exchange for a total of approximately 12 million Ether

    (“ETH”) over a one-month period in 2016. 15 The SEC applied the Howey Test to the DAO tokens

    and concluded they were securities under the Securities Act of 1933 (“Securities Act”) and the

    Securities Exchange Act of 1934 (“Exchange Act”). While The DAO, and DAO tokens, were no

    longer operational at the time due to a high-profile hack that resulted in the theft of most DAO tokens,

    the Commission chose to release the report so as “to advise those who would use a Decentralized

    Autonomous Organization (“DAO Entity”), or other distributed ledger or blockchain-enabled means

    for capital raising, to take appropriate steps to ensure compliance with the U.S. federal securities

    laws.” 16

                315.   In 2019, the SEC released a “Framework for ‘Investment Contract’ Analysis of Digital

    Assets” which provided additional details on when a digital asset has the characteristics of an

    investment contract and “whether offers and sales of a digital asset are securities transactions.” 17




    13
         https://www.sec.gov/investor/alerts/ia_virtualcurrencies.pdf (accessed June 27, 2023).
    14
      https://www.investor.gov/introduction-investing/general-resources/news-alerts/alerts-
    bulletins/%20investor-alerts/investor-39 (accessed June 27, 2023).
    15
         https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed June 27, 2023).
    16
         https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed June 27, 2023).
    17
        https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets           (accessed
    June 27, 2023).


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              316.   As stated by Chair Gensler, “crypto security issuers need to register the offer and sale

    of their investment contracts or meet the requirements for an exemption.” The SEC has “provided

    years of guidance to market participants on what does or does not constitute a crypto asset security.” 18

              317.   In addition, the SEC has publicized its position on cryptocurrency in

    countless enforcement actions, 19 multiple speeches, 20 Congressional testimony, 21 and several official

    SEC statements 22 and proclamations. 23 Chair Gensler has spoken frequently about the perils and

    illegality of crypto lending platforms and decentralized finance, 24 warning that their failure to register

    with the SEC may violate U.S. securities laws. 25 In one interview, Gensler said:

                     The law is clear, it’s not about waving a wand. Congress spoke about this in 1934 . . .
                     When a [digital] platform has securities on it, it is an exchange, and it’s a question of
                     whether they’re registered or they’re operating outside of the law and I’ll leave it at
                     that. 26

              318.   On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of the

    securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 27 Gensler noted



    18
         https://www.sec.gov/news/speech/gensler-remarks-piper-sandler-060823.
    19
         https://www.sec.gov/spotlight/cybersecurity-enforcement-actions (accessed June 27, 2023).
    20
      https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03 (accessed June 27,
    2023).
    21
         https://www.sec.gov/news/testimony/gensler-2021-05-26 (accessed June 27, 2023).
    22
       https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11(accessed June 27,
    2023).
    23
      https://www.sec.gov/news/public-statement/enforcement-tm-statement-potentially-unlawful-
    online-platforms-trading (accessed June 27, 2023).
    24
      https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed June 27,
    2023).
    25
      https://ca.finance.yahoo.com/news/crypto-platforms-dont-register-with-sec-outside-the-law-
    gensler- 164215740.html (accessed June 27, 2023).
    26
      https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed June 27,
    2023).
    27
         https://www.sec.gov/news/speech/gensler-sec-speaks-090822#_ftnref3 (accessed June 27, 2023).


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    that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,” a position

    that was also held by his predecessor, Jay Clayton. 28 Gensler went on to note that the SEC has spoken

    with a “pretty clear voice” when it comes to cryptocurrency “through the DAO Report, the Munchee

    Order, and dozens of Enforcement actions, all voted on by the Commission” and that “[n]ot liking

    the message isn’t the same thing as not receiving it.” 29

               319.   On June 8, 2023, Chair Gensler spoke at the Global Exchange & Fintech Conference.

    He stated that: “As I’ve said numerous times, the vast majority of crypto tokens meet the investment

    contract test. Not liking the message isn’t the same thing as not receiving it.” 30 Gensler went on to

    state:

                      It doesn’t matter what kind of assets investors put into a lending or staking-as-a-service
                      platform—cash, gold, bitcoin, or anything else. It’s what the intermediary says that
                      they are going to do with the assets that determines what protections are provided by
                      the law. Customers invest their assets with the platform, which then onlends them or
                      pools and stakes them, in each case promising a return. These are classic securities,
                      irrespective of whether crypto is involved. 31

               320.   The judicial record supports Chair Gensler’s assertions. The SEC has taken over 100

    crypto-related enforcement actions and has not lost a single case. 32

               321.   Below are summaries of five cases that will help inform this litigation.




    28
         Id.
    29
         Id.
    30
       https://www.sec.gov/news/speech/gensler-remarks-piper-sandler-060823 (accessed June 27,
    2023).
    31
         Id.
     https://www.cornerstone.com/wp-content/uploads/2022/01/SEC-Cryptocurrency-
    32

    Enforcement-2021-Update.pdf (accessed June 27, 2023).


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              a.     SEC v. KIK

              322.   In Kik 33, the SEC’s complaint 34, filed in the U.S. District Court for the Southern

    District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

    without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

    SEC’s lawsuit against it should be considered “void for vagueness.” 35

              323.   The court granted the SEC’s motion for summary judgment on September 30, 2020,

    finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

    contracts (and therefore of securities) and that Kik violated the federal securities laws when it

    conducted an unregistered offering of securities that did not qualify for any exemption from

    registration requirements. The court further found that Kik’s private and public token sales were a

    single integrated offering.

              b.     SEC v. Telegram

              324.   In Telegram, 36 the SEC filed a complaint 37 on October 11, 2019, alleging that the

    company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to 171

    initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from delivering the




    33
         https://www.sec.gov/news/press-release/2020-262 (accessed June 27, 2023).
    34
         https://www.sec.gov/news/press-release/2019-87 (accessed June 27, 2023).
    35
      https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
    refutes-void-for-vagueness-claim/ (accessed June 27, 2023).
    36
         https://www.sec.gov/news/press-release/2020-146 (accessed June 27, 2023).
    37
         https://www.sec.gov/news/press-release/2019-212 (accessed June 27, 2023).


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    Grams it sold, which the SEC alleged were securities that had been offered and sold in violation of

    the registration requirements of the federal securities laws.

            325.    Telegram argued 38 that the SEC has “engaged in improper ‘regulation by enforcement’

    in this nascent area of the law, failed to provide clear guidance and fair notice of its views as to what

    conduct constitutes a violation of the federal securities laws, and has now adopted an ad hoc legal

    position that is contrary to judicial precedent and the publicly expressed views of its own high-ranking

    officials.”

            326.    On March 24, 2020, the U.S. District Court for the Southern District of New York

    issued a preliminary injunction 39 barring the delivery of Grams and finding that the SEC had shown a

    substantial likelihood of proving that Telegram’s sales were part of a larger scheme to distribute the

    Grams to the secondary public market unlawfully.

            327.    Without admitting or denying the allegations in the SEC’s complaint, the defendants

    consented to the entry of a final judgment enjoining them from violating the registration provisions

    of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the defendants to

    disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the sale of Grams,

    with credit for the amounts Telegram pays back to initial purchasers of Grams. It also ordered

    Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years, Telegram is further

    required to give notice to the SEC staff before participating in the issuance of any digital assets.




    38
      https://www.financemagnates.com/cryptocurrency/news/sec-vs-telegram-will-gram-tokens-ever-
    be-distributed/ (accessed June 27, 2023).
    39
      https://www.gtlaw.com/en/insights/2020/4/sec-v-telegram--a-groundbreaking-decision-in-
    cryptocurrency-enforcement (accessed June 27, 2023).


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              c.      SEC v. BlockFi

              328.    In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending program,

    on February 22, 2022, the SEC charged BlockFi 40with failing to register the offers and sales of its

    retail crypto-lending product and also charged BlockFi with violating the registration provisions of the

    Investment Company Act of 1940.

              329.    BlockFi argued for “increased regulatory clarity” but lost. 41

              330.    To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

    unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring its

    business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

    company also announced that it intends to register under the Securities Act of 1933 the offer and sale

    of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million in fines

    to 32 states to settle similar charges.

              d.      SEC Wells Notice to Coinbase

              331.    In 2021, Coinbase began marketing a cryptocurrency lending product called Lend. The

    Lend program purported to allow some Coinbase customers to “earn interest on select assets on

    Coinbase, starting with 4% APY on USD Coin (USDC).” 42 According to Coinbase, its lawyers reached

    out to the SEC to discuss its Lend product, at which point SEC staff instead served Coinbase with

    a Wells Notice, informing Coinbase of their intention to seek approval from the SEC Commissioners

    to file a civil enforcement action against Coinbase for violating the federal securities laws.




    40
         https://lnkd.in/d-Xy45ec (accessed June 27, 2023).
    41
         https://blockfi.com/pioneering-regulatory-clarity (accessed June 27, 2023).
    42
         https://www.coinbase.com/blog/the-sec-has-told-us-it-wants-to-sue-us-over-lend-we-have-no-
    idea-why (accessed June 27, 2023).


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               332.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s failure

    to file a registration statement with the SEC for the offering of its Lend product, which the SEC

    believed was a security. 43

               333.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice are

    SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product is a “note”

    and hence a security (applying the so-called “Family Resemblance Test”).

               334.   Under the Lend program, Coinbase customers were clearly investing “money” at

    Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would have

    no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend investors

    to participant in Lend-related decisions. Given these facts, Lend was clearly an investment contract.

               335.   Under Reves, Lend may have also been a “note” and hence a security. Although the

    term “note” is included in the statutory definition of a security, case law has determined that not every

    “note” is a security. The definition specifically excludes notes with a term of less than nine months

    and courts have carved out a range of exemptions over the years for commercial paper-type notes

    such as purchase money loans and privately negotiated bank loans. To reconcile these varying cases,

    the U.S. Supreme Court in Reves established the “family resemblance test,” to determine whether a

    note is a security.

               336.   Per the “family resemblance test,” a presumption that a note is a security can only be

    rebutted if the note bears a resemblance to one of the enumerated categories on a judicially developed

    list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note secured by a

    mortgage on a home; 3) a short-term note secured by a lien on a small business or some of its assets;

    4) a note evidencing a character loan to a bank customer; 5) a short-term note secured by an



    43
         Id.


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    assignment of accounts receivable; 6) a note which simply formalizes an open-account debt incurred

    in the ordinary course of business (such as a trade payable for office supplies); and 7) a note evidencing

    loans by commercial banks for current operations.

            337.    The “family resemblance” analysis requires:

                    •   A consideration of the motivation of the seller and buyer (e.g. is the seller
                        looking for investment and the buyer looking for profit?);

                    •   The plan of distribution of the note (e.g. is the product being marketed as an
                        investment?);

                    •   The expectation of the creditor/investor (e.g. would the investing public
                        reasonably expect the application of the securities laws to the product); and

                    •   The presence of an alternative regulation (e.g. will the product be registered as a
                        banking product and the offered registered as a bank?).

            338.    Applying the family resemblance test to Lend reveals the presence of a note. First,

    Coinbase likened the Lend program to that of a savings account, where the Lend customer is looking

    for a profitable investment and Coinbase is looking for investors. Second, Coinbase marketed the

    Lend program as an investment. Third, investors would expect that securities regulation applies.

    Fourth, Coinbase is not a bank, so their so-called savings account falls under no other regulatory

    jurisdiction and protection.

            339.    Given the clear facts of the case, Coinbase decided to cancel the Lend program. 44

            e.      SEC v. Binance

            340.    In Binance, the SEC filed a complaint on June 5, 2023, in the United States District

    Court for the District of Columbia against several of the Binance entities including Binance.com, U.S.-

    based affiliates, and the founder Zhao. The SEC alleges that Binance.com and the other defendants

    violated thirteen securities laws, including selling various unregistered securities and a staking-as-a-


    44
          https://www.theverge.com/2021/9/20/22684169/coinbase-crypto-lend-feature-discontinued-
    sec-lawsuit-threats (accessed June 27, 2023).


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    service program; operating an unregistered exchange, broker-dealer, and clearing agency across

    interstate lines; covertly controlling Binance.US to evade U.S. securities laws; secretly allowing U.S.

    high-value traders to remain on the international platform; and commingling billions of U.S. assets

    with Zhao-owned entities. The SEC seeks a preliminary injunction to, among other relief, freeze and

    repatriate defendants’ U.S. assets. The SEC also seeks to permanently enjoin defendants from directly

    or indirectly violating the Exchange and Securities Acts, disgorge illegal gains, and award civil damages.

              f.     SEC v. Coinbase

              341.   Coinbase, the SEC filed a complaint 45 on June 6, 2023, in the United States District

    Court for the Southern District of New York against Coinbase and Coinbase Global. The SEC alleges

    that the Coinbase entities have violated multiple securities laws, including making billions of dollars

    from selling various unregistered securities and a staking-as-a-service program; and operating an

    unregistered exchange, broker-dealer, and clearing agency across interstate lines. The SEC seeks to

    permanently enjoin defendants from directly or indirectly violating the Exchange and Securities Acts,

    disgorge illegal gains, and award civil damages. “Coinbase was fully aware of the applicability of the

    federal securities laws to its business activities, but deliberately refused to follow them,” stated Gurbir

    S. Grewal, Director of the SEC’s Division of Enforcement. 46

                                     CLASS ACTION ALLEGATIONS

              342.   As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of

    themselves and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of the

    Federal Rules of Civil Procedure.




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         https://www.sec.gov/litigation/complaints/2023/comp-pr2023-102.pdf.
    46
         https://www.sec.gov/news/press-release/2023-102.

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        I. Class Definitions

            343.    Plaintiffs seek to represent the following Global Class, if the Court finds Florida’s

    securities statutes apply to all members of that class, and alternatively the following Nationwide Class,

    if the Court finds Florida’s securities statutes apply to all members of that class. Further in the

    alternative, Plaintiffs Vazquez and Vongdara seek to represent the following Florida Subclass, Plaintiff

    Sizemore seeks to represent the following California Subclass, and Plaintiff Lewis seeks to represent

    the following Colorado Subclass (collectively, the “Classes”):

                    (1) Global Class: All persons and entities who, within the applicable limitations

                          period, A) purchased, held, and/or sold the cryptocurrency tokens BNB and/or

                          BUSD on any platform, B) purchased, held, and/or sold SOL, ADA, MATIC,

                          FIL, ATOM, SAND, MANA, ALGO, AXS, or COTI on Binance.US or

                          Binance.com, or C) participated in the programs BNB Vault, Simple Earn, and/or

                          any staking program through Binance.US or Binance.com.

                    (2) Nationwide Class: All persons or entities in the United States who, within the

                          applicable limitations period, A) purchased, held, and/or sold the cryptocurrency

                          tokens BNB and/or BUSD on any platform, B) purchased, held, and/or sold SOL,

                          ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, or COTI on

                          Binance.US or Binance.com, or C) participated in the programs BNB Vault,

                          Simple Earn, and/or any staking program through Binance.US or Binance.com.

    In the alternative:

                    (3) Florida Subclass: All persons or entities in the state of Florida who, within the

                          applicable limitations period, A) purchased, held, and/or sold the cryptocurrency

                          tokens BNB and/or BUSD on any platform, B) purchased, held, and/or sold SOL,

                          ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, or COTI on


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                        Binance.US or Binance.com, or C) participated in the programs BNB Vault,

                        Simple Earn, and/or any staking program through Binance.US or Binance.com.

                    (4) California Subclass: All persons or entities in the state of California who, within

                        the applicable limitations period, A) purchased, held, and/or sold the

                        cryptocurrency tokens BNB and/or BUSD on any platform, B) purchased, held,

                        and/or sold SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, or

                        COTI on Binance.US or Binance.com, or C) participated in the programs BNB

                        Vault, Simple Earn, and/or any staking program through Binance.US or

                        Binance.com.

                    (5) Colorado Subclass: All persons or entities in the state of Colorado who, within

                        the applicable limitations period, A) purchased, held, and/or sold the

                        cryptocurrency tokens BNB and/or BUSD on any platform, B) purchased, held,

                        and/or sold SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, or

                        COTI on Binance.US or Binance.com, or C) participated in the programs BNB

                        Vault, Simple Earn, and/or any staking program through Binance.US or

                        Binance.com.

            344.    Excluded from the Classes are Defendants and their officers, directors, affiliates, legal

    representatives, and employees, the Binance entities and their officers, directors, affiliates, legal

    representatives, and employees, any governmental entities, any judge, justice, or judicial officer

    presiding over this matter and the members of their immediate families and judicial staff.

            345.    Plaintiffs reserve the right to modify or amend the definition of the proposed Classes,

    or to include additional classes or subclasses, before or after the Court determines whether such

    certification is appropriate as discovery progresses.




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       II. Numerosity

            346.    The Classes are comprised of thousands, if not millions, of consumers globally, to

    whom Binance offered and/or sold unregistered securities. Moreover, thousands, if not millions, of

    consumers worldwide have executed trades on the Binance platform and purchased unregistered

    securities within the applicable limitations period. Membership in the Classes are thus so numerous

    that joinder of all members is impracticable. The precise number of class members is currently

    unknown to Plaintiffs but is easily identifiable through other means, such as through Binance’s

    corporate records or self-identification.

      III. Commonality/Predominance

            347.    This action involves common questions of law and fact, which predominate over any

    questions affecting individual class members. These common legal and factual questions include, but

    are not limited to, the following:

                (a) whether Defendants offered and sold unregistered securities under applicable law;

                (b) whether Defendants’ participation and/or actions in Binance’s offerings and sales of

                    unregistered securities violate the provisions of applicable securities law.

                (c) the type and measure of damages suffered by Plaintiffs and the Classes.

                (a) whether Defendants’ practices violate state consumer protection statutes;

                (b) whether Plaintiffs and members of the Classes have sustained monetary loss and the

                    proper measure of that loss;

                (c) whether Plaintiffs and members of the Classes are entitled to injunctive relief;

                (d) whether Plaintiffs and members of the Classes are entitled to declaratory relief; and

                (e) whether Plaintiffs and members of the Classes are entitled to consequential damages,

                    punitive damages, statutory damages, disgorgement, and/or other legal or equitable

                    appropriate remedies as a result of Defendants’ conduct.



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     IV. Typicality

            348.       Plaintiffs’ claims are typical of the claims of the members of the Classes because all

   members were injured through the uniform misconduct described above, namely that Plaintiffs and

   all class members were offered and/or sold Binance’s unregistered securities because of Defendants’

   actions and/or participation in the offering and sale of these unregistered securities, and Plaintiffs are

   advancing the same claims and legal theories on behalf of themselves and all such members. Further,

   there are no defenses available to any Defendant that are unique to Plaintiffs.

       V. Adequacy of Representation

            349.       Plaintiffs will fairly and adequately protect the interests of the members of the Classes.

   Plaintiffs have retained counsel experienced in complex consumer class action litigation, and Plaintiffs

   intend to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic interests to those

   of the Classes. Plaintiffs anticipate no difficulty in the management of this litigation as a class action.

   To prosecute this case, Plaintiffs have chosen the undersigned law firms, which have the financial and

   legal resources to meet the substantial costs and legal issues associated with this type of consumer

   class litigation.

     VI. Requirements of Fed. R. Civ. P. 23(b)(3)

            350.       The questions of law or fact common to Plaintiffs’ and each Class member’s claims

   predominate over any questions of law or fact affecting only individual members of the Classes. All

   claims by Plaintiffs and the unnamed members of the Classes are based on the common course of

   conduct by Defendants (1) in marketing, offering, and/or selling unregistered securities, and/or (2) in

   receiving secret undisclosed compensation for their promotion of the Binance platform.

            351.       Common issues predominate when, as here, liability can be determined on a class-wide

   basis, even when there will be some individualized damages determinations.




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           352.    As a result, when determining whether common questions predominate, courts focus

   on the liability issue, and if the liability issue is common to the Classes as is in the case at bar, common

   questions will be held to predominate over individual questions.

    VII. Superiority

           353.    A class action is superior to individual actions for the proposed Classes, in part because

   of the non-exhaustive factors listed below:

               (a) Joinder of all members of the Classes would create extreme hardship and

                   inconvenience for the affected customers as they reside nationwide and throughout

                   the state;

               (b) Individual claims by members of the Classes are impracticable because the costs to

                   pursue individual claims exceed the value of what any one Class member has at stake.

                   As a result, individual Class members have no interest in prosecuting and controlling

                   separate actions;

               (c) There are no known individual members of the Classes who are interested in

                   individually controlling the prosecution of separate actions;

               (d) The interests of justice will be well served by resolving the common disputes of

                   potential members of the Classes in one forum;

               (e) Individual suits would not be cost effective or economically maintainable as individual

                   actions; and

               (f) The action is manageable as a class action.

   VIII. Requirements of Fed. R. Civ. P. 23(b)(2)

           354.    Defendants have acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of offering and/or selling, and/or aiding and




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   abetting the offering and/or selling of unregistered securities, thereby making appropriate final

   injunctive relief or declaratory relief with respect to the classes as a whole.

           355.    Defendants have acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of uniformly identical and uniform

   misrepresentations and omissions in receiving secret undisclosed compensation for their promotion

   of the Binance platforms, thereby making appropriate final injunctive relief or declaratory relief with

   respect to the classes as a whole.

     IX. Requirements of Fed. R. Civ. P. 23(c)(4)

           356.    As it is clear that one of the predominant issues regarding Defendants’ liability is

   whether the assets Defendants offered and/or sold are unregistered securities, utilizing Rule 23(c)(4)

   to certify the Classes for a class wide adjudication on this issue would materially advance the

   disposition of the litigation as a whole.

           357.    As it is clear that another predominant issue regarding Defendants’ liability is whether

   they have violated state consumer protection and securities laws in making identical and uniform

   misrepresentations and omissions regarding the functionality of the Binance platforms, and/or in

   receiving secret undisclosed compensation for their promotion of the Binance platforms, utilizing

   Rule 23(c)(4) to certify the Classes for a class wide adjudication on this issue would materially advance

   the disposition of the litigation as a whole.

      X. Nature of Notice to the Proposed Class.

           358.    The names and addresses of all Members of the Classes are contained in the business

   records maintained by Binance and are readily available to Binance. The Members of the Classes are

   readily and objectively identifiable. Plaintiffs contemplate that notice will be provided to Members by

   e-mail, mail, and published notice.




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                                                  COUNT ONE
                               Violations of the Florida Statute Section 517.07,
                             The Florida Securities and Investor Protection Act
                          (Plaintiffs individually and on behalf of the Global Class, alternatively,
                       Plaintiffs individually and on behalf of the Nationwide Class, alternatively,
                  Plaintiffs Vazquez and Vongdara individually and on behalf of the Florida Subclass)

           359.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.

           360.     Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any person

   to sell or offer to sell a security within the State of Florida unless the security is exempt under Fla.

   Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally covered security,

   or is registered pursuant to Ch. 517, Fla. Stat.

           361.     Section 517.211 extends liability to any “director, officer, partner, or agent of or for

   the seller, if the director, officer, partner, or agent has personally participated or aided in making the

   sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser still owns

   the security, or for damages, if the purchaser has sold the security.”

           362.     The BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS,

   and COTI tokens, and the BNB Vault and/or Simple Earn offered and sold to Plaintiffs and Class

   members are each a security pursuant to Fla. Stat. § 517.021(22)(a).

           363.     The securities sold and offered for sale to Plaintiffs and class members were not:

                a. exempt from registration under Fla. Stat. § 517.051;

                b. a federal covered security;

                c. registered with the Office of Financial Regulations (OFR); or

                d. sold in a transaction exempt under Fla. Stat. § 517.061.

           364.     Binance sold and offered to sell the unregistered securities to Plaintiffs and Class

   members. Binance’s sale and offer to sell the unregistered securities is a violation of Fla. Stat. § 517.07.



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           365.     Defendants Zhao, Butler, Armstrong and/or Paxos are directors, officers, partners,

   and/or agents of Binance pursuant to Fla. Stat. § 517.211.

           366.     Binance, with Defendants Zhao, Butler, Armstrong and/or Paxos’ material assistance

   and personal participation, offered and sold the unregistered BNB, BUSD, SOL, ADA, MATIC, FIL,

   ATOM, SAND, MANA, ALGO, AXS, and COTI tokens, and the BNB Vault and/or Simple Earn

   securities to Plaintiffs and the members of the Classes. As a result of this assistance, Defendants Zhao,

   Butler, Armstrong and/or Paxos violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the

   Classes sustained damages as herein described.

                                                COUNT TWO
               For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                       § 501.201, Florida Statutes, et seq.
                        (Plaintiffs individually and on behalf of the Global Class, alternatively,
                     Plaintiffs individually and on behalf of the Nationwide Class, alternatively,
                Plaintiffs Vazquez and Vongdara individually and on behalf of the Florida Subclass)

           367.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.

           368.     This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA is

   to “protect the consuming public . . . from those who engage in unfair methods of competition, or

   unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.” §

   501.202(2), Fla. Stat.

           369.     Plaintiffs and members of the Classes are consumers as defined by section 501.203,

   Fla. Stat. Defendants are engaged in trade or commerce within the meaning of the FDUTPA, in that

   they are engaged in advertising, soliciting, providing, offering, or distributing, whether by sale or

   otherwise, a good or service, or any property whether tangible or intangible.




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             370.   Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of competition,

   unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any trade

   or commerce.”

             371.   Defendants’ unfair and deceptive practices as described herein were consumer-

   oriented and are objectively materially likely to mislead – and have materially misled – consumers

   acting reasonably in the circumstances.

             372.   Defendants have violated the FDUTPA by engaging in the unfair and deceptive

   practices as described herein, which offend public policies and are immoral, unethical, unscrupulous

   and injurious to consumers.

             373.   Plaintiffs and consumers in the Classes have been aggrieved in the amount of their lost

   investments by Defendants’ unfair and deceptive practices and acts, as more fully described herein.

             374.   The harm suffered by Plaintiffs and consumers in the Classes was directly and

   proximately caused by the deceptive and unfair practices of Defendants, as more fully described

   herein.

             375.   Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers in

   the Classes make claims for actual damages, attorneys’ fees and costs.

             376.   Defendants still utilize many of the deceptive acts and practices described above.

   Plaintiffs and the other consumers in the Classes have suffered and will continue to suffer irreparable

   harm if Defendants continue to engage in such deceptive, unfair, and unreasonable practices. Section

   501.211(1) entitles Plaintiffs and the Classes to obtain both declaratory or injunctive relief to put an

   end to Defendants’ unfair and deceptive scheme.




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                                                 COUNT THREE
                             Violations of the California Securities Law (CSL)
                                        Cal. Corp. Code §§ 25110 et seq .
                        (Plaintiff Sizemore individually and on behalf of the California Subclass)

           377.    Plaintiff Sizemore repeats and re-alleges the allegations contained in paragraphs 1–358

   above, as if fully set forth herein.

           378.    The BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS,

   and COTI tokens, and the BNB Vault and/or Simple Earn are securities within the meaning of the

   California Corporations Code.

           379.    California Corp. Code § 25110 prohibits the offer or sale of any security unless the

   security has been first qualified through registration or exempted. Section 25503 affords a statutory

   cause of action to victimized investors for violations of Section 25110. Section 25504.1 extends liability

   under Section 25503 to any person who materially assists in a violation of Section 25110 and makes

   them jointly and severally liable with any other person liable under Section 25503.

           380.    Binance, with Defendants Zhao, Butler, Armstrong and/or Paxos’ material assistance,

   sold and offered to sell the BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO,

   AXS, and COTI tokens, and the BNB Vault and/or Simple Earn securities to Plaintiff and Class

   members. Binance offered and sold these securities even though the securities were not properly

   registered or qualified for offer or sale either with any federal or California regulator.

           381.    Defendants Zhao, Butler, Armstrong and/or Paxos materially assisted Binance in the

   offering and selling of the unregistered BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND,




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   MANA, ALGO, AXS, and COTI tokens, and the BNB Vault and/or Simple Earn securities in

   California in violation of Section 25503. 47

           382.    As a result, Binance and Defendants Zhao, Butler, Armstrong and/or Paxos have

   violated Sections 25110 and 25503 of the California Corporations Code.

           383.    California Corp. Code § 25210(b) provides: “No person shall . . . effect any transaction

   in, or induce or attempt to induce the purchase or sale of, any security in [California] unless [the]

   broker-dealer and agent have complied with any rules as the commissioner may adopt for the

   qualification and employment of those agents.”

           384.    Defendants Zhao, Butler, Armstrong and/or Paxos breached Section 25210(b) by

   encouraging Binance to offer and sell the BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND,

   MANA, ALGO, AXS, and COTI tokens, and the BNB Vault and/or Simple Earn securities to

   Plaintiff and Class members in California even though Binance was not licensed under the California

   Corp. Code.

           385.    California Corp. Code § 25401 prohibits fraud in the offer or sale of securities by any

   person in California. Section 25501 affords a statutory cause of action to victimized investors for

   violations of Section 25401. Section 25504.1 extends liability under Section 25503 to any person who

   materially assists in a violation of Section 25401 with the intent to deceive or defraud and makes them

   jointly and severally liable with any other person liable under Section 25503.

           386.    Binance, with with Defendants Zhao, Butler, Armstrong and/or Paxos’ material

   assistance, offered and sold the BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA,

   ALGO, AXS, and COTI tokens, and the BNB Vault and/or Simple Earn securities to Plaintiff and


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     Plaintiffs contend that secondary liability for materially assisting a strict liability violation of the
   qualification requirements of Section 25110 does not require proof that Defendants Zhao, Butler,
   Armstrong and/or Paxos intended “to deceive or defraud.” However, Plaintiffs in the alternative
   contend that even if so, Defendants’ knowledge of and participation in Binance’s non-compliance
   with the CSL establishes their intent to deceive investors regarding the unregistered.

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   Class members in California by means of written and/or oral communications consisting of untrue

   statements of a material fact and/or omitting to state a material fact necessary to make the statements

   made, in the light of the circumstances under which the statements were made, not misleading.

           387.     As a result of their actions, Defendants, separately or together, caused a false statement

   or omission to be made in connection with the offer and sale of the BNB, BUSD, SOL, ADA,

   MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, and COTI tokens, and the BNB Vault and/or

   Simple Earn securities to Plaintiff and Class members in California.

           388.     Defendants, separately or together, had knowledge of the falsity or misleading nature

   of a statement or omission made in connection with the offer or sale of these unregistered securities,

   or were negligent in failing to investigate and discover the falsity of the statement or omission.

   Defendants, separately or together, were aware that a fact being misrepresented or omitted was

   material to Plaintiff’s and Class members’ decision to invest in the Binance securities.

           389.     Binance and Defendants Zhao, Butler, Armstrong and/or Paxos are accordingly joint

   and severally liable to Plaintiff and members of the Class for rescissionary damages under Section

   25504.1.

           390.     Plaintiff and members of the Class hereby conditionally tender their Binance securities

   in accordance with Cal. Corp. Code § 25503.

                                               COUNT FOUR
        For Violations of the Unfair Competition Law Business & Professions Code (UCL)
                                                   § 17200, et seq.
             (In the alternative, Plaintiff Sizemore individually and on behalf of the California Subclass)

           391.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.

           392.     California’s Unfair Competition Law, Business & Professions Code §§ 17200 et seq.

   (the “UCL”) prohibits acts of unlawful and unfair competition, including any “unlawful, unfair or



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   fraudulent business act or practice,” any “unfair, deceptive, untrue or misleading advertising” and any

   act prohibited by § 17500.

           393.     Defendants engaged in unlawful acts, namely, the misrepresentations and omissions

   made to Plaintiff and Class Members and the offer and sale of the unregistered securities. As more

   fully described above, Defendants made numerous misrepresentations and omissions to Plaintiff and

   Class Members about the Binance platform to drive consumers to invest in the unregistered Binance

   securities offerings and to utilize the Binance platforms for cryptocurrency trading, misleading

   customers into believing that cryptocurrency assets held on the platforms were safe and were not

   being invested in unregistered securities. Defendants’ practices described herein are likely to mislead—

   and clearly have misled—consumers acting reasonably under the circumstances to invest in Binance.

           394.     Defendants’ actions as alleged above also constitute unfair competition in that the

   actions offend public policy and are unethical, oppressive, and unscrupulous, and are substantially

   injurious to the public, and a violation of the Code.

           395.     Defendants’ unlawful practices were a proximate cause of the injuries to Plaintiff and

   Class Members and caused and continues to cause substantial injury to Plaintiff and the Class

   Members.

           396.     By reason of the foregoing, Defendants should be required to pay restitution to

   Plaintiff and Class Members.

                                                     COUNT FIVE
                                    Violations of the Colorado Securities Act,
                                                 Section 11-51-101 et seq
                  (In the alternative, Plaintiff Lewis individually and on behalf of the Colorado Subclass)

           397.     Plaintiff repeats and re-alleges the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.




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           398.      The purpose of the Colorado Securities Act is “to protect investors and maintain

   public confidence in securities markets while avoiding unreasonable burdens on participants in capital

   markets. Colo. Rev. Stat. § 11-51-101(2).

           399.      Section 11-51-301 provides that it is “unlawful for any person to offer to sell or sell

   any security in Colorado unless it is registered pursuant to article 51, it is a security or transaction

   exempt under section 11-51-307, 11-51-308, 11-51-308.5, or 11-51-309, or is a federally covered

   security.

           400.      The BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS,

   and COTI tokens, and the BNB Vault and/or Simple Earn offered and sold to Plaintiff and Class

   members are each a security pursuant to § 11-51-201(17).

           401.      The securities sold and offered for sale to Plaintiffs and class members were not

   registered as required, nor were they federally covered securities or exempt from registration.

           402.      Binance sold and offered to sell the unregistered securities to Plaintiff and Class

   members. Binance’s sale and offer to sell the unregistered securities is a violation of the Colorado

   Securities Act.

           403.      Section 11-51-501 prohibits fraud “in connection with the offer, sale, or purchase of

   any security, directly or indirectly.” Section 11-51-604(4) provides a statutory cause of action to

   victimized investors for violations of Section 11-51-501. Section 11-51-604(5)(c) extends liability

   under Section 11-51-604(4) to any person who “gives substantial assistance to such conduct” and

   holds them “jointly and severally liable.”

           404.      Binance, with with Defendants Zhao, Butler, Armstrong and/or Paxos’ material

   assistance, offered and sold the BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA,

   ALGO, AXS, and COTI tokens, and the BNB Vault and/or Simple Earn securities to Plaintiff and

   Class members in Colorado by means of written and/or oral communications consisting of untrue


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   statements of a material fact and/or omitting to state a material fact necessary to make the statements

   made, in the light of the circumstances under which the statements were made, not misleading.

           405.      As a result of their actions, Defendants, separately or together, caused a false statement

   or omission to be made in connection with the offer and sale of the BNB, BUSD, SOL, ADA,

   MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, and COTI tokens, and the BNB Vault and/or

   Simple Earn securities to Plaintiff and Class members in Colorado.

           406.      Defendants, separately or together, had knowledge of the falsity or misleading nature

   of a statement or omission made in connection with the offer or sale of these unregistered securities,

   or were negligent in failing to investigate and discover the falsity of the statement or omission.

   Defendants, separately or together, were aware that a fact being misrepresented or omitted was

   material to Plaintiff’s and Class members’ decision to invest in the Binance securities.

           407.      Binance and Defendants Zhao, Butler, Armstrong and/or Paxos are accordingly joint

   and severally liable to Plaintiff and members of the Class for rescissionary damages under Section 11-

   51-604(5)(c).

                                                       COUNT SIX
                     For Violations of the Colorado Consumer Protection Act (CCPA),
                                                  § 6-1-101 et se q , C.R.A
                   (In the alternative, Plaintiff Lewis individually and on behalf of the Colorado Subclass)

           408.      Plaintiff repeats and re-alleges the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.

           409.      The Colorado Consumer Protection Act prohibits deceptive trade practices as set

   forth in section 6-1-105, C.R.S. (2009).

           410.      As a result of Defendants’ actions as described above, Defendants have engaged in

   one or more deceptive trade practices, in violation of the Colorado Consumer Protection Act.

           411.      Defendants are “person[s]” under the CCPA. See Colo. Stat. § 6-1-102(6).



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           412.     Defendants’ actions significantly impacts the public as all investors have been

   aggrieved in the amount of their lost investments by Defendants’ unfair and deceptive practices and

   acts, as more fully described herein.

           413.     As a result of Plaintiff’s and Class members’ lost investments, Plaintiff and Class

   members have suffered injury in fact to a legally protected interest.

           414.     The harm suffered by Plaintiff and consumers in the Class was directly and

   proximately caused by Defendants’ deceptive trade practices, as more fully described herein.

           415.     Pursuant to section 6-1-113 of the CCPA, Plaintiff and consumers in the Class make

   claims for actual damages, attorneys’ fees and costs.


                                                  COUNT SEVEN
                                                     Civil Conspiracy
                           (Plaintiffs individually and on behalf of the Global Class, alternatively,
                        Plaintiffs individually and on behalf of the Nationwide Class, alternatively,
                   Plaintiffs Vazquez and Vongdara individually and on behalf of the Florida Subclass,
     Plaintiff Sizemore individually and on behalf of the California Subclass, and Plaintiff Lewis individually and on
                                               behalf of the Colorado Subclass)

           416.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–358 above, as

   if fully set forth herein.

           417.     Defendants made numerous misrepresentations and omissions to Plaintiffs and Class

   members about the Binance Platform to induce confidence and to drive consumers to invest in

   Binance’s unregistered securities offerings and to utilize Binance for cryptocurrency trading,

   misleading customers with the false impression that any cryptocurrency assets held on the Binance

   Platform were safe and were not being invested in unregistered securities. Defendants knew these

   statements to be false.

           418.     Binance entered into one or more agreements with the other Defendants with the

   purpose of making these misrepresentations and/or omissions to induce Plaintiffs and consumers to



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   invest in the BNB, BUSD, SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO, AXS, and

   COTI tokens, and the BNB Vault and/or Simple Earn unregistered securities and/or use the Binance

   platforms. Defendants each stood to benefit financially from assisting with this fraud as each would

   receive the financial and other benefits described hereinabove.

            419.    Defendants engaged in unlawful acts, namely, the misrepresentations and omissions

   made to Plaintiffs and Class members and the sale of unregistered securities, as further described

   above.

            420.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing

   conducted by Binance; further, Defendants had knowledge of such fraud and/or wrongdoing, because

   of their experience and relationship with Binance, as described above and as such, knew that the

   representations made to Plaintiffs and Class members were deceitful and fraudulent. Defendants also

   knew that the material misrepresentations and omissions made to Plaintiffs and Class members

   relating to the Binance platform and the Binance securities would result in injury to Plaintiffs and the

   Class members.

            421.    Binance’s conspiracy with Defendants caused damages to Plaintiffs and Class

   members in the amount of their lost investments.

                                                  COUNT EIGHT
                                                          Conversion
                            (Plaintiffs individually and on behalf of the Global Class, alternatively,
                         Plaintiffs individually and on behalf of the Nationwide Class, alternatively,
                 Plaintiffs Vazquez and Vongdara individually and on behalf of the Florida Subclass and
     Plaintiff Sizemore individually and on behalf of the California Subclass, and Plaintiff Lewis individually and on
                                                behalf of the Colorado Subclass)

            422.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1–358 as if fully set forth herein.

            423.    Plaintiffs and Class members deposited and/or maintained funds and assets in their

   Binance accounts. Plaintiffs’ and Class members’ funds and assets were personal property. Plaintiffs


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   and Class members each had a possessory interest in the specific, identifiable assets and/or funds that

   they invested in the Binance platform(s).

           424.     Binance substantially interfered with Plaintiffs’ and Class members’ funds and/or

   assets by knowingly and/or intentionally taking possession of this property to use for purposes not

   authorized by Plaintiffs and Class members, spending the funds and/or assets in the accounts for

   items not authorized pursuant to their agreements, and/or refusing to return the funds and/or assets

   despite the demands from Plaintiffs and Class members. Plaintiffs and Class members did not consent

   to the use of their assets and/or funds by Binance, as alleged above.

           425.     Plaintiff and Class members have been harmed by being denied access to and/or

   possession of their assets and funds.

           426.     Binance’s conduct was a substantial factor in causing the harm alleged herein to

   Plaintiff and Class members.

                                                   COUNT NINE
                                            Aiding and Abetting Conversion
                            (Plaintiffs individually and on behalf of the Global Class, alternatively,
                         Plaintiffs individually and on behalf of the Nationwide Class, alternatively,
                 Plaintiffs Vazquez and Vongdara individually and on behalf of the Florida Subclass and
     Plaintiff Sizemore individually and on behalf of the California Subclass, and Plaintiff Lewis individually and on
                                                behalf of the Colorado Subclass)

           427.     Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1–358 as if fully set forth herein.

           428.     The funds deposited by Plaintiffs and Class members into the Binance platform(s)

   were Plaintiffs’ and Class members’ personal property. Plaintiffs and Class members each had a

   possessory interest in the sum of money they invested in the Binance platform(s).

           429.     Binance wrongfully interfered with Plaintiffs’ possessory interest in a specific,

   identifiable sum of money.




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           430.    Defendants Zhao, Butler, Armstrong and/or Paxos, based on their knowledge of

   Binance’s operations obtained through due diligence, ongoing monitoring, and partnership, acquired

   knowledge of Binance’s conversion of Plaintiffs’ funds.

           431.    Notwithstanding this knowledge, and by reason of the conduct described herein,

   Defendants Zhao, Butler, Armstrong and/or Paxos substantially aided, abetted, and/or participated

   with Binance in the conversion of funds that belonged to Plaintiffs.

           432.    Defendants Zhao, Butler, Armstrong and/or Paxos’ actions, in combination with the

   actions of Binance, are a proximate cause of actual damages to Plaintiffs and Class members.

   Defendants Zhao, Butler, Armstrong and/or Paxos are jointly and severally liable for participating in

   the conversion of Plaintiffs’ funds.

                                          PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

           a.      Certifying the Classes as requested herein;

           b.      Awarding actual, direct and compensatory damages;

           c.      Awarding restitution and disgorgement of revenues if warranted;

           d.      Awarding declaratory relief as permitted by law or equity, including declaring the

                   Defendants’ practices as set forth herein to be unlawful;

           e.      Awarding injunctive relief as permitted by law or equity, including enjoining the

                   Defendants from continuing those unlawful practices as set forth herein, and directing

                   the Defendants to identify, with Court supervision, victims of their conduct and

                   pay them all money they are required to pay;

           f.      Awarding statutory and multiple damages, as appropriate;

           g.      Awarding attorneys’ fees and costs;

           h.      Awarding restitutionary damages or disgorgement; and


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        i.      Providing such further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a jury trial as to all claims so triable.




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          Dated: June 27, 2023                              Respectfully submitted,

                                                          By: /s/ Adam Moskowitz
                                                          Adam M. Moskowitz
                                                          Florida Bar No. 984280
                                                          Joseph M. Kaye
                                                          Florida Bar No. 117520
                                                          Barbara C. Lewis
                                                          Florida Bar No. 118114
                                                          THE MOSKOWITZ LAW FIRM, PLLC
                                                          Continental Plaza
                                                          3250 Mary Street, Suite 202
                                                          Coconut Grove, Florida 33133
                                                          Telephone: (305) 740-1423
                                                          adam@moskowitz-law.com
                                                          joseph@moskowitz-law.com
                                                          barbara@moskowitz-law.com

                                                          Brooke Alexander
                                                          (Pro Hac Vice)
                                                          BOIES SCHILLER FLEXNER LLP
                                                          333 Main Street
                                                          Armonk, NY 10504
                                                          Phone: (914) 749–8200
                                                          balexander@bsfllp.com

                                                          Stephen Neal Zack
                                                          Florida Bar No. 145215
                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
                                                          BOIES SCHILLER FLEXNER LLP
                                                          100 SE 2nd St., Suite 2800
                                                          Miami, FL 33131
                                                          Office: 305-539-8400
                                                          szack@bsfllp.com
                                                          tulrich@bsfllp.com

                                                          Co-Counsel for Plaintiffs and the Class

                                    CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the forgoing was filed on June 27, 2023, via the
   Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.
                                                                     By: /s/ Adam M. Moskowitz __
                                                                         ADAM M. MOSKOWITZ




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